       Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 1 of 92 PageID #:211



1433-8
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

SHANE W. WORTMAN, individually,               )
and on behalf of all others similarly         )       Civil Action
situated,                                     )
                                Plaintiff,    )
        v.                                    )       No. 1:18-cv-04522
                                              )
LAW OFFICES OF IRA T. NEVEL, LLC,             )
                       Defendant.             )

                    STATEMENT OF UNDISPUTED MATERIAL FACTS

         Defendant, LAW OFFICES OF IRA T. NEVEL, LLC (“Defendant”), by and through its

attorneys, James V. Noonan and Robert E. Haney of Noonan & Lieberman, Ltd., in support of its

Motion for Summary Judgment, pursuant to LR56.1 of the United States District Court for the

Northern District of Illinois hereby submits this Statement of Undisputed Material Facts.

                               UNDISPUTED MATERIAL FACTS

         1.     On March 3, 2006, Plaintiff executed a mortgage in favor of AFN AMRO

Mortgage Group, Inc. (the “Mortgage”). (See Plaintiff’s Complaint at ⁋ 15).

         2.     Plaintiff defaulted on the loan on October 1, 2016. (See Plaintiff’s Complaint at ⁋

19).

         3.     In June 2018, the then holder of the loan, U.S. Bank National Association, not in

its individual capacity but solely as Trustee for the RMAC Trust, Series 2016-CTT (“U.S.

Bank”), retained Defendant to commence foreclosure proceedings. (See Declaration of

Defendant attached hereto as Exhibit “1” at ⁋ 6).

         4.     On June 18, 2018, Defendant, on behalf of U.S. Bank, sent Plaintiff the letter

(“Letter”) attached as Exhibit “A” to the Complaint. (Exhibit “1” at ⁋ 7).



                                                  1
    Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 2 of 92 PageID #:212




       5.      The Letter was for informational purposes only to provide Plaintiff with important

information to avoid the possible foreclosure of his mortgage and possible loss of his home.

(Exhibit “1” at ⁋ 10).

       6.      The Letter was also Defendant’s first communication with the Plaintiff and was

required by the FDCPA in order to comply with notice requirements of 15 U.S.C. § 1692g(a), the

so-called “Mini-Miranda” warnings. (Exhibit “1” at ⁋ 10). (See also Defendant’s Answers to

Plaintiff’s Interrogatories #5 – attached hereto as Exhibit #2).

       7.      Page 2 of the Letter includes the following language:

               IF YOU ARE CURRENTLY IN A BANKRUPCY PROCEEDING OF HAVE PREVIOUSLY
               OBTAINED A DISCHARGE OF THE DEBT UNDER APPLICABLE BANKRUPTCY LAW,
               THIS NOTICE IS FOR INFORMATION ONLY AND IS NOT AN ATTEMPT TO COLLECT
               THE DEBT, A DEMAND FOR PAYMENT, OR AN ATTEMPT TO IMPOSE PERSONAL
               LIABILITY FOR THAT DEBT. YOU ARE NOT OBLIGATED TO DISCUSS YOUR HOME
               LOAN WITH THIS OFFICE OR YOUR MORTGAGE LENDER. YOU SHOULD CONSULT
               WITH YOUR BANKRUPTCY ATTORNEY OR OTHER ADVISOR ABOUT YOUR LEGAL
               RIGHTS AND OPTIONS.

       8.      Attached hereto as Exhibit “3” is a true and correct copy of Plaintiff’s Verified

Answers to Defendant’s Interrogatories.

       9.      Exhibit “3” includes the following Interrogatory and Response:

               13.       Does Plaintiff have any evidence that a significant fraction of the
                         population would be misled by Exhibit A to the complaint? If so, identify
                         any and all such evidence.
                         RESPONSE: Plaintiff, himself, was misled.

       10.     Exhibit “4” is a true and correct copy of Plaintiff, Shane W. Wortman’s

deposition transcript.

       11.     At his deposition, Shane Wortman stated that he is unaware of anyone, besides

himself and his wife, being misled by the Letter (Exhibit “4” at pg. 41).

       12.     Besides his own personal opinion, Shane Wortman has no evidence, from any

other source, that the Letter is misleading. (Exhibit “4” at pg. 43).


                                                  2
    Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 3 of 92 PageID #:213




       13.     Plaintiffs have no evidence that a significant fraction of the population would be

misled by the Letter.

       14.     Plaintiffs have offered no extrinsic evidence to support any claim that a

significant fraction of the population would be misled by the Letter.

       WHEREFORE, Defendant, LAW OFFICES OF IRA T. NEVEL, LLC, hereby presents its

Statement of Undisputed Material Facts in support of its Motion for Summary Judgment and

hereby respectfully requests that this Honorable Court to grant its Motion for Summary

Judgment, enter judgment in its favor and against Plaintiff, and for such other relief as this Court

deems just and proper.



                                                     Respectfully submitted,

                                                     By: /s/ James v. Noonan
                                                     One of the Attorneys for Defendant

James V. Noonan #6200366
Robert E. Haney #6189905
Noonan & Lieberman, Ltd.
105 W. Adams, Suite 1800
Chicago, IL 60603
312-431-1455
jnoonan@noonanandlieberman.com
rhaney@noonanandlieberman.com




                                                 3
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 4 of 92 PageID #:214



1433-8
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

SHANE W. WORTMAN, individually,               )
and on behalf of all others similarly         )       Civil Action
situated,                                     )
                                Plaintiff,    )
        v.                                    )       No. 1:18-cv-04522
                                              )
LAW OFFICES OF IRA T. NEVEL, LLC,             )
                       Defendant.             )


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that true and correct copies of the foregoing DEFENDANT’S

STATEMENT OF UNDISPUTED MATERIAL FACTS was served by electronic filing with the

clerk of the Court (ECF) on the following parties or their attorneys:

                        Mohammed Badwan
                        Sulaiman Law Group, Ltd.
                        2500 S. Highland Avenue, Suite 200
                        Lombard, IL 60148
                        mbadwan@sulaimanlaw.com



on November 16, 2020.                                 Respectfully submitted,

                                                      By: /s/ James v. Noonan
                                                      One of the Attorneys for Defendant

James V. Noonan #6200366
Robert E. Haney #6189905
Noonan & Lieberman, Ltd.
105 W. Adams, Suite 1800
Chicago, IL 60603
312-431-1455
jnoonan@noonanandlieberman.com
rhaney@noonanandlieberman.com
m



                                                  4
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 5 of 92 PageID #:215




                                                           EXHIBIT 1
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 6 of 92 PageID #:216
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 7 of 92 PageID #:217




                                                         EXHIBIT 1-A
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 8 of 92 PageID #:218
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 9 of 92 PageID #:219




                                                            EXHIBIT 2
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 10 of 92 PageID #:220
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 11 of 92 PageID #:221
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 12 of 92 PageID #:222
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 13 of 92 PageID #:223
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 14 of 92 PageID #:224
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 15 of 92 PageID #:225
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 16 of 92 PageID #:226




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SHANE W. WORTMAN, individually, and on
behalf of all others similarly situated,

        Plaintiff,                                    Case No. 1:18-cv-04522

v.                                                    Honorable Charles R. Norgle

LAW OFFICES OF IRA T. NEVEL, LLC,

      Defendant.
______________________________________________________________________________

       PLAINTIFF’S RESPONSES AND OBJECTIONS TO LAW OFFICES OF
            IRA T. NEVEL, LLC’S FIRST SET OF INTERROGATORIES
______________________________________________________________________________

        NOW COMES Plaintiff, SHANE W. WORTMAN (“Plaintiff”), through counsel, hereby

submits the following responses and objections to the First Set of Interrogatories propounded by

LAW OFFICES OF IRA T. NEVEL, LLC as follows:

                                     INTERROGATORIES

1.      Please identify the full name of each and every person answering these interrogatories.

        RESPONSE: Plaintiff, Shane W. Wortman, through undersigned counsel.

2.      Identify each and every person with whom the individual answering these interrogatories
        consulted, was aided, assisted, and furthered by, in connection with the preparation of the
        answers to these interrogatories.

        RESPONSE: Plaintiff, Shane W. Wortman, through undersigned counsel.

3.      State Plaintiff’s full name, current residence address(es), date of birth and the last four
        digits of his social security number.

        RESPONSE: Plaintiff’s full name is Shane W. Wortman. Plaintiff’s current residence

        address is 25804 Ross Lane, Plainfield, Illinois 60585. Plaintiff’s date of birth is August

        11, 1975. Plaintiff’s last four digits of his social security number are 5233.



                                                  1
                                                                               EXHIBIT 3
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 17 of 92 PageID #:227




4.      Describe all communication between Plaintiff, or someone acting on his behalf, and
        Defendant, including dates of each communication, participants and substance of each
        communication.

        RESPONSE: Plaintiff objects to this Interrogatory on the basis that Defendant is in

        possession of the information it is seeking as part of business records relating to debt it

        sought to collect. Accordingly, Defendant is in better position to possess this information

        sought. Subject to and without waiving the foregoing objection, see Wortman 000001-

        000002, Defendant’s June 18, 2018 correspondence to Plaintiff. Plaintiff’s investigation

        continues and Plaintiff reserves the right to supplement this response.

5.      Is Plaintiff claiming that he incurred actual damages as a result of the allegations contained
        in the Complaint? If yes, explain what the actual damages are.

        RESPONSE: Plaintiff claims he suffered confusion/emotional distress associated with

        having to question whether bankruptcy had any effect.

6.      Identify the names and addresses of all persons with whom Plaintiff, or someone acting on
        his behalf, has communicated regarding the allegations made in the Complaint, and state
        the date and substance of each such communication.

        RESPONSE: Plaintiff objects to this Interrogatory to the extent it is seeking information

        protected by attorney-client privilege and/or work product doctrine. Subject to and without

        waiving the foregoing objection, Plaintiff states that he has not communicated regarding

        the allegations made in the Complaint with anyone other than with anyone other than

        Nicole T. Wortman. Nicole T. Wortman’s current residence address is 25804 Ross Lane,

        Plainfield, Illinois 60585

7.      Identify the names and addresses of all persons who may have knowledge regarding the
        allegations in the Complaint and state the substance of each person’s knowledge.

        RESPONSE: Plaintiff Shane W. Wortman has knowledge regarding the allegations in the
        Complaint. Moreover, Nicole T. Wortman has knowledge regarding the allegations in the
        Complaint.




                                                  2
      Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 18 of 92 PageID #:228




8.       Has Plaintiff filed for bankruptcy protection in the last ten (10) years? If yes, provide the
         case number and jurisdiction for each such filing including the dates each such bankruptcy
         was discharged.

         RESPONSE: On November 30, 2016, Plaintiff filed a voluntary petition for relief under

         Chapter 13 of the Bankruptcy Code. 1:16-bk-37931 (Bankr. N.D. Ill.). On September 11,

         2017, Plaintiff was granted a discharge under section 1328(a) of the United States

         Bankruptcy Code.

9.       List the subsections of the FDCPA that you contend Defendant has violated.

         RESPONSE: 15 U.S.C. §§ 1692e(2) and e(10).

10.      For each response to interrogatory #9, list the date of the violation and describe the conduct
         by Defendant that constituted the violation.

         RESPONSE: See Complaint generally. On June 18, 2018, Defendant mailed Plaintiff

         written correspondence falsely representing Plaintiff owed $309,456.68.            However,

         Plaintiff’s discharge by operation eliminated Plaintiff’s personal liability on indebtedness

         owed U.S. Bank, N.A.

11.      Does Plaintiff allege in the complaint that Defendant violated 15 U.S.C. § 1692e(2)? If so,
         identify the entire basis for this allegation and all such evidence which supports the
         allegation.

         RESPONSE: See Complaint ¶ 51.

12.      Does Plaintiff allege in the complaint that Defendant violated 15 U.S.C. § 1692e(10)? If
         so, identify the entire basis for this allegation and all such evidence which supports the
         allegation.

         RESPONSE: See Complaint ¶ 52.

13.      Does Plaintiff have any evidence that a significant fraction of the population would be
         misled by Exhibit A to the complaint? If so, identify any and all such evidence.

         RESPONSE: Plaintiff, himself, was misled.

14.      Identify any and all experts and/or entities you may seek to use in an attempt to provide
         evidence (of any kind) that Defendant allegedly violated the FDCPA.



                                                   3
      Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 19 of 92 PageID #:229




         RESPONSE: Plaintiff objects to this Interrogatory as premature at this juncture. Subject

         to and without waiving the foregoing objection, Plaintiff states he has not retained an

         expert; doesn’t expect to retain an expert; however, reserves the right to retain an expert, if

         necessary. Plaintiff’s investigation continues and Plaintiff reserves the right to supplement

         this response.

15.      Has Plaintiff ever been a party to any lawsuit? If so, list the name, court number,
         jurisdiction and outcome for all such lawsuits, including any settlement terms.

         RESPONSE: Plaintiff objects to this Interrogatory on the basis that the information sought
         is immaterial to his claims against Defendant and thus disproportionate to the needs of this
         case. Plaintiff further objects on the basis that any lawsuits that Plaintiff has been a party
         to is public knowledge; therefore, Defendant has equal access to the information it is
         seeking.

16.      Has Plaintiff ever been convicted of:

             a.      A crime punishable by imprisonment in excess of 1 year, or

             b.      A crime involving dishonesty, fraud or false statement?

         If yes, please list the case name, number, jurisdiction and outcome.

         RESPONSE: None.

17.      List all witnesses Plaintiff intend to call at trial.

         RESPONSE: Plaintiff objects to this Interrogatory as premature at this juncture. Subject

         to and without waiving the foregoing objection, Plaintiff states he will submit his witness

         list when necessary. Plaintiff’s investigation continues and Plaintiff reserves the right to

         supplement this response.

18.      Please identify any compensatory damages Plaintiff seeks if any.

         RESPONSE: Plaintiff objects to this Request to the extent it is seeking documents

         protected by the attorney-client privilege and/or work product doctrine. Plaintiff further

         objects to this Request on the basis that the information sought is immaterial to whether



                                                      4
      Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 20 of 92 PageID #:230




         Defendant’s conduct violated the FDCPA. Accordingly, the information sought regarding

         attorney’s fees, litigation expenses, and costs is disproportionate to the needs of the case at

         this juncture. Plaintiff will submit his attorney’s fees application to the Court if he prevails

         on his FDCPA claims. Plaintiff’s investigation continues and Plaintiff reserves the right

         to supplement this response.

19.      State the complete terms of engagement you have with each attorney representing you in
         this Complaint.

         RESPONSE: Plaintiff objects to this Interrogatory to the extent it is seeking information

         by the attorney-client privilege and/or work product doctrine.

Dated: August 22, 2019                                   Respectfully submitted,

                                                         /s/ Joseph S. Davidson

                                                         Joseph S. Davidson
                                                         Mohammed O. Badwan
                                                         SULAIMAN LAW GROUP, LTD.
                                                         2500 South Highland Avenue
                                                         Suite 200
                                                         Lombard, Illinois 60148
                                                         +1 630-575-8181
                                                         jdavidson@sulaimanlaw.com
                                                         mbadwan@sulaimanlaw.com




                                                    5
   Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 21 of 92 PageID #:231




                                CERTIFICATE OF SERVICE

       I, Joseph S. Davidson, an attorney, certify that on August 22, 2019, I caused the foregoing
PLAINTIFF’S RESPONSES AND OBJECTIONS TO LAW OFFICES OF IRA T. NEVEL,
LLC’S FIRST SET OF INTERROGATORIES, to be served upon counsel of record, as listed
below, via email:

                                      James V. Noonan
                                       Robert E. Haney
                              NOONAN & LIEBERMAN, LTD.
                              105 West Adams Street, Suite 1800
                                    Chicago, Illinois 60603
                                        312-431-1455
                              jnoonan@noonanandlieberman.com
                               rhaney@noonanandlieberman.com
                               intake@noonanandlieberman.com

                                                            /s/ Joseph S. Davidson




                                                6
DocuSign Envelope ID: 357C3872-A361-4A18-9A82-29BA4F09389D
                Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 22 of 92 PageID #:232




                                                         VERIFICATION

                    I, Shane W. Wortman, declare under penalty of perjury that I have read the foregoing
             responses contained in Plaintiff’s Responses to Defendant’s Interrogatories, and that the
             answers set forth therein are truthful to best of my knowledge, information and belief.

                     Executed on August 22, 2019.




                     ________________________________

                     Shane W. Wortman
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 23 of 92 PageID #:233




                 Transcript of the Testimony of
                    SHANE W. WORTMAN

                        Date: November 22, 2019

     Case: SHANE W. WORTMAN v. LAW OFFICES OF IRA T.
                      NEVEL, LLC.




                                                  TOOMEY REPORTING
                                                                  312-853-0648
                                                        toomeyrep@sbcglobal.net
                                                       www.toomeyreporting.com


                                                             EXHIBIT 4
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 24 of 92 PageID #:234

                              SHANE W. WORTMAN
                              November 22, 2019

                                                                        Page 1
              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ILLINOIS
                       EASTERN DIVISION

   SHANE W. WORTMAN, INDIVIDUALLY                   )
   AND ON BEHALF OF ALL OTHERS                      )
   SIMILARLY SITUATED,                              )   Civil Action
                      Plaintiff,                    )
                                                    )
                    -vs-                            )   1:18-cv-04522
                                                    )
   LAW OFFICES OF IRA T. NEVEL,                     )
   LLC,                                             )
                      Defendant.                    )


                   Deposition of SHANE W. WORTMAN taken
   before NANCY K. SPEARE, C.S.R., and Notary
   Public, pursuant to the Federal Rules of Civil
   Procedure for the United States District Courts
   pertaining to the taking of depositions, at 2500
   South Highland, Suite 200, Lombard, Illinois
   at 9:53 a.m. on the 22nd of November, A.D.,
   2019.
                   There were present at the taking of
   this deposition the following counsel:




                              TOOMEY REPORTING
                                312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 25 of 92 PageID #:235

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                             Page 2
1                        ATLAS CONSUMER LAW by
                         MR. JOSEPH S. DAVIDSON
2                        2500 South Highland Avenue
                         Suite 200
3                        Lombard, Illinois 60148
                         (630) 575-8181 ext. 116
4                        jdavidson@sulaimanlaw.com,
5                            on behalf of the Plaintiff;
6                        NOONAN & LIEBERMAN by
                         MR. ROBERT E. HANEY
7                        105 West Adams Street
                         Suite 1800
8                        Chicago, Illinois 60603
                         (312) 431-1455
9                        rhaney@noonanandlieberman.com,
10                           on behalf of the Defendant.
11
12
13
14
15
16
17
18
19
20
21
22
23
24


                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 26 of 92 PageID #:236

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                             Page 3
 1                               DEPOSITION OF
 2                             SHANE W. WORTMAN
 3                         Taken: November 22, 2019
 4
 5      EXAMINATION BY                                                         PAGE
 6      Mr. Haney                                                               4
                                                                                55
 7
        Mr. Davidson                                                            51
 8
 9
10                                     EXHIBITS
                                                                               PAGE
11
        Exhibit No. 1                                                           12
12
        Exhibit No. 2                                                           18
13
        Exhibit No. 3                                                           28
14
        Exhibit No. 4                                                           45
15
        Exhibit No. 5                                                           46
16
17
18
19
20
21
22
23
24


                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 27 of 92 PageID #:237

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                             Page 4
 1                               SHANE W. WORTMAN,
 2      called as a witness herein, having been first
 3      duly sworn, was examined upon oral
 4      interrogatories and testified as follows:
 5                                    EXAMINATION
 6                                  by Mr. Haney:
 7           Q     Okay, let the record reflect that this is
 8      the deposition of Shane Wortman taken pursuant to
 9      notice and continued to today's date by agreement
10      of the parties; and let the record also show that
11      this deposition will be taken in accordance with
12      the applicable rules, federal rules of Civil
13      Procedure, and the local rules of the Northern
14      District of Illinois, excuse me.
15                    Mr. Wortman, my name is Bob Haney.                       I
16      introduced myself to you before we went on the
17      record here today.             I'm going to be asking you
18      some questions about a lawsuit that's pending in
19      federal court for the Northern District of
20      Illinois involving a letter dated June 18th of
21      2018.      So, for purposes of this deposition I'm
22      going to call it "the letter", is that okay?
23           A     That's okay.
24           Q     All right.         If at any time you don't hear

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 28 of 92 PageID #:238

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                             Page 5
 1      one of my questions or don't understand one of my
 2      questions, let me know; and I will repeat myself
 3      or rephrase my question as is necessary.                          Do you
 4      understand?
 5           A     I do.
 6           Q     All right, tell us your full name then
 7      for the record.
 8           A     Shane William Wortman.
 9           Q     And where do you live?
10           A     At 25804 Ross Lane, Plainfield, Illinois.
11           Q     And how long have you lived there?
12           A     About a year and a half now, a year ago
13      this last August, so come -- in a couple months,
14      I'm sorry.
15           Q     And who do you reside with at that
16      address?
17           A     My wife, Nicole; my son, Shane; my
18      daughter, Jade; my father, Richard.
19           Q     And what is your date of birth?
20           A     8-11-75.
21           Q     What are the last four digits of your
22      social?
23           A     5233.
24           Q     Have you ever given a deposition before?

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 29 of 92 PageID #:239

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                             Page 6
 1           A     I have.
 2           Q     How many times?
 3           A     One other time.
 4           Q     And when was that?
 5           A     About 20 years ago.
 6           Q     What was the nature of that case?
 7           A     Related to an auto accident.
 8           Q     Were you the plaintiff?
 9           A     Yes.
10           Q     An injury case?
11           A     Yes.
12           Q     Have you ever testified at trial?
13           A     No.
14           Q     Okay, I realize you've given a deposition
15      once before; but, since it was 20 years ago, I
16      just want to just briefly cover some of the
17      ground rules for the deposition today.                         I pretty
18      much already covered them; but, if you need to
19      take a break for any reason we'll be happy to do
20      that for you, accommodate you; but the only thing
21      I would request is you not take a break while
22      you're in the middle of answering a question --
23           A     Finish questions before?
24           Q     Yeah.      And, of course, you just sort of

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 30 of 92 PageID #:240

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                             Page 7
 1      telegraphed it, you need to let me finish
 2      completely asking questions before you start to
 3      answer so our court reporter can get a clean
 4      record; and then I'll try not to step on one of
 5      your answers as well.               Okay?
 6           A     I understand.
 7           Q     Do you have any questions about the
 8      proceedings so far?
 9           A     No.
10           Q     Okay.      Did you review any documents
11      before starting the deposition here today?
12           A     I did, I reviewed them myself and with my
13      attorney.
14           Q     What did you look at?
15           A     The complaint itself, the letter I
16      reviewed, and some other jurisdictional documents
17      that were forwarded that I've had on file.
18           Q     And what are these jurisdictional
19      documents?
20           A     Is it okay if I look on my phone?
21           Q     Sure --
22           A     I've got them pulled up --
23           Q     -- absolutely.
24           A     So I can actually -- The complaint

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 31 of 92 PageID #:241

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                             Page 8
1       itself, the interrogatories.
2            Q     Those are the interrogatories that you
3       executed?
4            A     Yes.
5            Q     Okay.
6            A     And the actual complaint.
7            Q     Okay.       So the letter, the interrogatory
8       answers, and the complaint?
9            A     Yes.
10           Q     Does that cover it?
11           A     Yes.
12           Q     Did you discuss the deposition with
13      anyone before we started up here today?
14           A     Yes, with my attorneys.
15           Q     You spoke with Mr. Davidson?
16           A     Yes.
17           Q     And with Mr. Badwan?
18           A     Yes.
19           Q     And when did you do that?
20           A     This morning.
21           Q     And how much time did you spend doing
22      that?
23           A     Maybe 20, 30 minutes.
24           Q     Did you do anything else -- Strike that.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 32 of 92 PageID #:242

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                             Page 9
 1                    Did you do anything else to prepare for
 2      the deposition?
 3           A     I've reviewed the documents myself in
 4      preparation for the deposition just over this
 5      last week knowing that we were going to be
 6      meeting today.
 7           Q     Are you married?
 8           A     I am.
 9           Q     Your wife is Nicole?
10           A     Yes.
11           Q     How long have you been married?
12           A     Just had a 19-year anniversary.
13           Q     Congratulations.
14           A     Thank you.
15           Q     And I think you told me you had a son
16      Shane?
17           A     I do.
18           Q     Are you employed?
19           A     I am.
20           Q     Where do you work?
21           A     I work for Comforts of Home Services,
22      Incorporated.
23           Q     And where is that located?
24           A     Aurora, Illinois.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 33 of 92 PageID #:243

                                    SHANE W. WORTMAN
                                    November 22, 2019

                                                                            Page 10
 1           Q     That's a commute.             What's the address?
 2           A     410 Rathbone Avenue, R-A-T-H-B-O-N-E,
 3      Avenue, 60506.
 4           Q     And what do you do there?
 5           A     I'm a director of sales and marketing.
 6           Q     And how long have you worked there?
 7           A     A year, seven months.
 8           Q     What's the nature of their business?
 9           A     We build custom restroom shower
10      decontamination trailers --
11           THE COURT REPORTER:              I'm sorry, you "build
12      custom"?
13           THE WITNESS:           A   Custom restroom and shower
14      event trailers for use at wedding events,
15      concerts, industrial use with the government
16      along the border, overseas, military bases.
17           MR. HANEY:         Q       And where did you work before
18      that?
19           THE WITNESS:           A    Factory Cleaning Equipment.
20           Q     And where are they located?
21           A     Also in Aurora, Illinois.
22           Q     And how long did you work for Factory
23      Cleaning Equipment?
24           A     About six years.

                                    TOOMEY REPORTING
                                      312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 34 of 92 PageID #:244

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 11
1            Q     And I think I can tell from the title,
2       but what is the nature of their business?
3            A     Actually equipment sales, industrial
4       equipment sales.
5            Q     What is your highest level of education?
6            A     High school grad.
7            Q     What high school did you graduate from?
8            A     Morton East High School in Berwyn,
9       Illinois.
10           Q     And when did you graduate?
11           A     1993.
12           Q     Have you had any education post high
13      school?
14           A     No.
15           Q     So you haven't taken any college courses
16      of any kind?
17           A     None.
18           Q     Do you have any professional licenses of
19      any kind?
20           A     No.
21           MR. HANEY:         That's for you.
22                          (counsel handed opposing
23                              counsel a document)
24         MR. HANEY:          Would you mark this as Number 1.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 35 of 92 PageID #:245

                                    SHANE W. WORTMAN
                                    November 22, 2019

                                                                            Page 12
 1                   (document marked as requested)
 2           MR. HANEY:         Q       Mr. Wortman, showing you
 3      what's been marked as Deposition Exhibit Number
 4      1, do you have that document in front of you?
 5           THE WITNESS:           A    Yes.
 6           Q     This is a document entitled Notice of
 7      Deposition, correct?
 8           A     Yes.
 9           Q     And it has five pages, is that true?
10           A     Yes.
11           Q     The part of the Notice of Deposition
12      includes a rider, starting on the second page,
13      correct?
14           A     Correct.
15           Q     Have you seen this Notice of Deposition
16      before?
17           A     I have.
18           Q     Okay, this is for a date of October 30th
19      of 2019, which is obviously not correct; but the
20      date was continued to today by everyone's
21      agreement?
22           A     Right.
23           Q     Mainly to accommodate you, since it would
24      have been a trek for you to come downtown.

                                    TOOMEY REPORTING
                                      312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 36 of 92 PageID #:246

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 13
 1                    Have you had an opportunity to look at
 2      the rider before?
 3           A     I've reviewed it previously.
 4           Q     Okay, I want to go through just a few of
 5      the numbered items on here just to see if there
 6      are any documents.             You brought some documents
 7      with you today, the ones you looked at on your
 8      phone I guess and the ones that are in front of
 9      you on the table today, right?
10           A     Yes.
11           Q     And the ones on the table are what
12      exactly, that you brought?
13           A     I brought the complaint itself and a copy
14      of the original letter.
15           Q     Okay.      And at some point in time did you
16      give documents to your attorney?
17           A     I did.
18           Q     Okay, and did you give all the documents
19      to your attorney that you think are relevant to
20      the lawsuit?
21           A     I did.
22           Q     And what were those documents?
23           A     The letter that we received.
24           Q     And did you give them anything else?

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 37 of 92 PageID #:247

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 14
1            A     No.
2            Q     Okay, item number two on the rider asks
3       for all documents relating to any communication
4       between you and the defendant, who's the Law
5       Offices of Ira T. Nevel, correct?
6            A     Correct.
7            Q     And you mentioned "the letter", right?
8            A     Yes.
9            Q     Are there any other letters that you
10      received from Mr. Nevel's office?
11           A     No.
12           Q     Did you mail any documents to Mr. Nevel?
13           A     No.
14           Q     Okay, moving down the line, number four,
15      asks about tape recordings, among other things.
16      Did you have any phone conversations with
17      Mr. Nevel or his law office?
18           A     No.
19           Q     So it's fair to say you don't have any
20      recordings of any phone calls, right?
21           A     No.
22           Q     What I said was correct?
23           A     Correct.
24           Q     Okay.       I'm moving on to page 3, it talks

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 38 of 92 PageID #:248

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 15
1       about documents relating to your claims; and it
2       says "any and all documents that relate to
3       plaintiff's claim for actual damages, statutory
4       damages, attorneys' fees, litigation expenses,
5       costs, and any other damages plaintiff seeks";
6       did I read that correctly?
7            A     Yes.
8            Q     All right, do you have any documents
9       responsive to this request?
10           A     No.
11           Q     Are you getting bills for attorneys'
12      fees?
13           A     No.
14           Q     Have you ever paid any money in the form
15      of litigation expenses for this lawsuit?
16           A     No.
17           Q     Are you making a claim for any economic
18      damages relating to the lawsuit?
19           A     No.
20           Q     Okay.       Number 13 states "If plaintiff is
21      seeking recovery of damages for any medical
22      condition, including emotional distress, they
23      claimed to have suffered as a result of
24      defendant's alleged conduct, please produce all

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 39 of 92 PageID #:249

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 16
 1      of your medical records from January 1st, 2015 to
 2      the present".           Did I read that correctly?
 3           A     Yes.
 4           Q     Are you making a -- are you seeking
 5      recovery for damages for any medical condition?
 6           A     No.
 7           Q     Are you seeking recovery for any
 8      emotional distress?
 9           A     No.
10           Q     Have you ever spoken to a doctor about
11      any medical condition or emotional distress
12      relating to this lawsuit?
13           A     No.
14           Q     Do you have a treating physician?
15           A     Yes.
16           Q     Who is the treating physician?
17           A     Dr. Williams, DuPage Medical Group.
18           Q     And he's a family physician?
19           A     Yes.
20           Q     How long have you been seeing him?
21           A     The last three years.
22           Q     Do you see him for annual checkups?
23           A     Yes.
24           Q     When was the last team you saw him?

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 40 of 92 PageID #:250

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 17
 1           A     About a year ago.
 2           Q     And what is the address?
 3           A     I see him at 143rd Street and Route 59 in
 4      Plainfield.
 5           Q     Okay, number 18 -- I'm not reading all of
 6      these, obviously.             There's just a few I have
 7      interest in.          Eighteen concerns copies of bank --
 8      excuse me -- copies of bankruptcy petitions filed
 9      by you in the last ten years; do you see that?
10           A     I do.
11           Q     And you did file for bankruptcy within
12      the last ten years, correct?
13           A     I did.
14           Q     Is it just the one filing?
15           A     Yes.
16           Q     And did you receive a discharge?
17           A     We did.
18           Q     Do you know the date of discharge?
19           A     September 11th of 2017.
20           Q     Okay, and after the discharge were there
21      any further bankruptcy proceedings?
22           A     No.
23           Q     Okay, we can put this one aside for the
24      moment.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 41 of 92 PageID #:251

                                    SHANE W. WORTMAN
                                    November 22, 2019

                                                                            Page 18
 1                    Can you mark this as Number 2 for
 2      Mr. Wortman.
 3                    (document marked as requested)
 4           MR. HANEY:         Q    Mr. Wortman, I'm showing you
 5      what's been marked as your Deposition Exhibit
 6      Number 2, which is the Class Action Complaint.
 7      Do you see that?
 8           THE WITNESS:           A    Yes.
 9           Q     And I think you indicated earlier that
10      this is one of the documents that you
11      familiarized yourself with prior to the
12      deposition starting today, is that correct?
13           A     Yes.
14           Q     And this Exhibit Number 2 also has as
15      Exhibit A "the letter", correct?
16           A     Correct.
17           Q     Okay, I'll spend a couple minutes on
18      this.      Do you understand the complaint?
19           A     I do.
20           Q     Okay.      And -- Strike that.
21                    The complaint makes reference to the
22      Fair Debt Collection Practices Act, correct?
23           A     Correct.
24           Q     Which is sometimes abbreviated F-D-C-P-A,

                                    TOOMEY REPORTING
                                      312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 42 of 92 PageID #:252

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 19
 1      right?
 2           A     Right.
 3           Q     Are you familiar with the Fair Debt
 4      Collection Practices Act?
 5           A     I have an understanding of what it means,
 6      yes.
 7           Q     What does it mean?
 8           A     Well, it's a protection for citizens
 9      against debt collections from malicious intent,
10      overzealous letters, things like that, and
11      basically a practice put in place to protect the
12      general public.
13           Q     And how have you acquired your knowledge
14      of the Fair Debt Collection Practices Act?
15           A     Through reading the complaint itself and
16      through my own research.
17           Q     Okay.      I want to direct your attention to
18      page 8 of this complaint.                 Just tell me when
19      you're there.
20           A     I'm there.
21           Q     Okay, paragraph 40 says "On June 15th,
22      2018, Defendant sent Plaintiff a dunning letter,
23      providing"; do you see that?
24           A     I do.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 43 of 92 PageID #:253

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 20
 1           Q     That's a typo, I presume?                 Do you agree?
 2           A     I don't understand what a dunning letter
 3      is myself.
 4           Q     I'm referring actually to the date.                       The
 5      date says on June 15th; and actually the letter's
 6      dated June 18th?
 7           A     June 18th, that is a typo, correct.
 8           Q     So paragraph 40 is incorrect, do you
 9      agree, in terms of the date?
10           A     I agree.
11           Q     Okay.      Now, paragraph 41 appears to have
12      a section of the letter, true?
13           A     True.
14           Q     And that is, I mentioned earlier, the
15      actual letter itself is attached that's Exhibit A
16      to this complaint, correct?
17           A     A portion of the letter.
18           Q     Well, let's make sure we're on the same
19      page, literally.            Paragraph 41 is a portion of
20      the letter; and then Exhibit A is an entire
21      letter, is that right?
22           A     Correct.
23           Q     Okay.      And I think you told me earlier
24      that this letter is the only letter that you

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 44 of 92 PageID #:254

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 21
 1      received from Defendant, is that correct?
 2           A     Correct.
 3           Q     Do you find fault with this letter?
 4           A     I do.
 5           Q     And why do you find fault with the
 6      letter?
 7           A     Because it was a letter that we received
 8      nine months after our discharge from our
 9      bankruptcy stating that we owed money to bank --
10      US National Bank -- Bank National Association, I
11      apologize -- in the amount of $309,456 dollars
12      and 68 cents.
13           Q     And why do you find fault with that
14      statement?
15           A     Not only does it say that we owe the
16      money but it goes on to continuing to say --
17      mentions it as a debt that we owe and to collect
18      the debt throughout the body of the letter; and
19      it makes statements related to making deposits of
20      a check once they receive it.                    It's pretty
21      descriptive in their intent to try and recover
22      the debt that we had understanding of that was
23      discharged nine months earlier.
24           Q     The letter is dated, as you've stated,

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 45 of 92 PageID #:255

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 22
 1      June 18th of 2018, correct?
 2           A     Correct.
 3           Q     When did you receive the letter?
 4           A     Based on when it's dated, in my
 5      recollection I'm going to say a couple days after
 6      that.      June 18th I believe was on a Monday.                        I
 7      believe we might have received the letter on
 8      Wednesday or Thursday of that week, possibly the
 9      20th or 21st.
10           Q     And that's the correct address where you
11      were residing at the time?
12           A     Yes.
13           Q     All right, and was the letter sent by
14      regular mail or certified mail, if you know?
15           A     I believe it was regular mail.
16           Q     All right, and when you received this
17      letter in June of 2018 did you read the entire
18      letter?
19           A     We did.
20           Q     "We" being you and your wife?
21           A     Myself and my wife, yes.
22           Q     All right.         And when you read the entire
23      letter did you also read the language that is
24      contained after the signature on page 2?

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 46 of 92 PageID #:256

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 23
 1           A     What I will say is after the initial
 2      shock of the letter set in -- to be honest with
 3      you it was devastating to receive the letter --
 4      we were floored; and, mainly, because of when it
 5      was we made the call immediately of course to our
 6      lawyers to make sure --
 7           Q     And who were your lawyers that you
 8      called?
 9           A     Left a message for the office, I was
10      trying to reach Mr. Davidson.
11           Q     Did you know Mr. Davidson from the
12      bankruptcy proceedings?
13           A     Yes, I met him early on in the process.
14           Q     Okay.      All right, let me back up because
15      I'm not sure you answered my question.                         What I
16      wanted to know is when you received the letter
17      you told me you read the entire letter, correct?
18           A     Ultimately, yes.            Immediately, no.            We
19      read the body of the letter itself and tried to
20      absorb what it was saying and, of course, flip to
21      the back page; but, of course, it's fine print,
22      it's a disclaimer, and the bulk of it, actually,
23      continued for the further lines, two lines down
24      past the signature line have absolutely nothing

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 47 of 92 PageID #:257

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 24
 1      to do with the further disclaimer, which of
 2      course we saw below about currently being
 3      (inaudible) -- how confusing is that --
 4           THE COURT REPORTER:              "Currently being" a
 5      what?
 6           THE WITNESS:          A     About -- it has language in
 7      it that if you're currently in a bankruptcy
 8      proceeding or have previously obtained a
 9      discharge, but it's direct contradictory language
10      above in the body of the letter; and we assumed
11      that why would they send us this letter if they
12      weren't actually intending to collect, thinking
13      that the lender themselves should have previous
14      knowledge of our bankruptcy and the discharge.
15      So we're having a misunderstanding of the
16      disconnection between the bank themselves and, of
17      course, the collection.
18           Q     I think you're getting a little bit ahead
19      of me.
20           A     No problem.
21           Q     I'll give you an opportunity to explain
22      all of that.
23           A     Okay.
24           Q     But right now I just I want to know the

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 48 of 92 PageID #:258

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 25
 1      process here.           You got the letter in June.                  You
 2      read the first part initially.                    It sounds like
 3      then you made a call to try and get a hold of
 4      Mr. Davidson, is that right?
 5           A     Yes.
 6           Q     Okay.      So when you first received the
 7      letter you did not read the disclaimer on the
 8      second page, is that right?
 9           A     Not in its entirety initially.
10           Q     Okay.
11           A     That did occur the same day.
12           Q     Oh, later on that day --
13           A     Yes.
14           Q     -- you did read the disclaimer?
15           A     Yes, yes.
16           Q     And, to be clear, the disclaimer says "if
17      you are currently in a bankruptcy proceeding or
18      previously obtained a discharge of the debt under
19      applicable bankruptcy law, this notice is for
20      information only and is not an attempt to collect
21      the debt"; that's what it says, correct?
22           A     That is what it says.
23           Q     Okay.      Were you able to get a hold of
24      Mr. Davidson that day?

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 49 of 92 PageID #:259

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 26
1            A     No.
2            Q     When is the first time that you spoke
3       with Mr. Davidson or anyone from his office?
4            A     I believe it was the following Monday --
5            Q     Okay.
6            A     -- the 26th or so.
7            Q     All right, I'll get back to that.                        And
8       keep in mind, I'm not asking you about your
9       conversation with Mr. Davidson -- or any other
10      attorney -- because that's privileged
11      information, okay.              Understood?
12           A     Understood.
13           Q     When you, ultimately, did read the
14      language on page 2, the disclaimer that I read
15      into the record, did you understand that this
16      letter was not an attempt to collect the debt?
17           A     No, we didn't.
18           Q     Despite that language being clearly
19      stated you did not understand that to be the
20      case?
21           A     No.
22           Q     Were you a party to a foreclosure as
23      well?
24           A     Yes.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 50 of 92 PageID #:260

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 27
 1           Q     What is the status of the foreclosure?
 2           A     Completed.
 3           Q     And what was the result?
 4           A     The house was sold at auction, I believe.
 5           Q     And was that this house at 24633
 6      Lincolnway Street?
 7           A     Yes.
 8           Q     Who represented you in the foreclosure?
 9           A     Atlas Consumer.
10           Q     Was that Mr. Davidson or some other
11      attorney from his firm?
12           A     We worked with a few attorneys from the
13      firm, Mr. Davidson included, and Mohammad.
14           Q     And when was the foreclosure completed?
15           A     I believe it was completed in February of
16      '19, of this year.
17           Q     And you said the house was sold at
18      auction.        Was that as part of a short sale or was
19      that something different?
20           A     No, a foreclosure, foreclosure sale, as
21      far as I know.           I don't have the entirety of the
22      details.
23           Q     Did you have an attorney in that case?
24           A     Yes.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 51 of 92 PageID #:261

                                    SHANE W. WORTMAN
                                    November 22, 2019

                                                                            Page 28
 1           Q     Who represented you?
 2           A     Atlas Consumer.
 3           Q     All right, you told me that.
 4                    Who was the plaintiff?
 5           A     Bank of America.
 6           Q     And do you know who the attorney was who
 7      represented the plaintiff?
 8           A     Not specifically, no.
 9           Q     Was it Mr. Nevel, if you know?
10           A     I do not know.
11           MR. HANEY:         Mark this as Number 3 for
12      Mr. Wortman.
13                    (document marked as requested)
14           MR. HANEY:         Q    Mr. Wortman, showing you what
15      we marked as your Deposition Exhibit Number 3 is
16      this a document entitled Plaintiff's Responses
17      and Objections to Law Offices of Ira T. Nevel,
18      LLC's First Set of Interrogatories?
19           THE WITNESS:           A    Yes.
20           Q     All right, and the last page of this
21      exhibit has your signature -- or your electronic
22      signature?
23           A     Yes.
24           Q     That is your electronic signature?

                                    TOOMEY REPORTING
                                      312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 52 of 92 PageID #:262

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 29
 1           A     Yes.
 2           Q     And you signed this on August 22nd of
 3      2019?
 4           A     Yes.
 5           Q     Is this one of the documents that you've
 6      had a chance to take a look at before we started
 7      the deposition today?
 8           A     Yes.
 9           Q     All right, and is the information in
10      these interrogatory answers accurate?
11           A     Yes.
12           Q     Okay.      I have a question for you about
13      the interrogatory number five on page 2, if you
14      could tell me when you're there.
15           A     I'm there.
16           Q     Okay, the question is:                "Is plaintiff
17      claiming that he incurred actual damages as a
18      result of the allegations contained in the
19      complaint?         If yes, explain what the actual
20      damages are."           Did I read that question
21      correctly?
22           A     Yes.
23           Q     And the answer here is "Plaintiff claims
24      he suffered confusion slash emotional distress

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 53 of 92 PageID #:263

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 30
 1      associated with having to question whether
 2      bankruptcy had any effect."                   Did I read that
 3      answer correctly?
 4           A     Yes.
 5           Q     All right, you've got the word "confusion
 6      slash emotional distress" in this response.                            You
 7      told me you don't have emotional distress
 8      damages.        So I presume we're talking about
 9      confusion, is that really what we're talking
10      about here?
11           A     Well, I would say that we have emotional
12      distress related to distress in the household
13      itself from the stress on my marriage and my
14      kids, my family.
15           Q     Okay.
16           A     So none outside the whole household to
17      require a doctor's attention so to speak, but
18      definite personal attention in our own core group
19      in our home.
20           Q     All right, I'll get to that in a second.
21      It says here in your response that this confusion
22      slash emotional distress is associated with
23      having to question whether bankruptcy had any
24      effect, that's that's what it says, right?

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 54 of 92 PageID #:264

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 31
 1           A     Yes.
 2           Q     Did the letter have any effect on your
 3      bankruptcy?
 4           A     Direct effect, no, not that I'm aware of.
 5           Q     And how did you make that determination?
 6           A     After consulting with my lawyer.
 7           Q     Okay.      So when you were able to consult
 8      with your lawyer, Mr. Davidson -- without telling
 9      me what exactly was said during that
10      conversation, whatever was said -- alleviated
11      your confusion and emotional distress; is that
12      fair to say?
13           A     No.
14           Q     Okay, why is that wrong?
15           A     It -- we feel like our rights were
16      violated by receiving the letter.
17           Q     Right, but you became aware after your
18      conversation with Mr. Davidson that the letter
19      has no effect on your bankruptcy discharge?
20           A     It had no direct effect on the bankruptcy
21      discharge itself.
22           Q     Okay.
23           A     It had a direct effect on how we felt --
24           Q     Okay --

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 55 of 92 PageID #:265

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 32
 1           A     -- about the discharge.
 2           Q     All right, and you were aware that the
 3      letter had no effect on your bankruptcy discharge
 4      when you were able to get on the phone with
 5      Mr. Davidson -- I think you said, approximately,
 6      June 26th of 2018, correct?
 7           A     We actually confirmed that --
 8           Q     Correct?
 9           A     Correct.
10           Q     Okay.      All right, so now what I want to
11      know -- 'cause I'm confused -- when you say
12      confusion slash emotional distress, are those two
13      separate things; or is that one thing and you're
14      describing it with a slash?
15           A     I think it can be considered to be one
16      thing in its entirety.
17           Q     Okay.      All right, so then I must ask you
18      how long did you continue to suffer confusion
19      slash emotional distress associated with
20      receiving the letter?
21           A     We're still confused today as to why we
22      received a letter nine months after the
23      bankruptcy was discharged.
24           Q     All right, so the fact that you have now

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 56 of 92 PageID #:266

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 33
 1      had a chance to read the disclaimer hasn't
 2      resolved the confusion?
 3           A     No.
 4           Q     All right, I know you haven't seen a
 5      doctor about any confusion or emotional distress;
 6      but have you had any physical symptoms of any
 7      kind that you attribute to the letter?
 8           A     Not that I can say, no more than overall
 9      internal strife I guess would be a way to put it.
10           Q     Okay, has overall internal strife caused
11      you to have any physical symptoms?
12           A     No.
13           Q     Okay.      So you're not claiming that you
14      suffered high blood pressure as a result of
15      getting the letter?
16           A     No.
17           Q     And you're not claiming that you've been
18      unable to sleep at night as a result of getting
19      the letter, you're not making that claim, are
20      you?
21           A     We had some lost sleep those first few
22      days after receiving it; but, currently, no.
23           Q     Okay, so if you had any sleeplessness
24      over having receiving the letter it was resolved

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 57 of 92 PageID #:267

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 34
 1      after a couple days?
 2           A     Yeah, within a week or so.
 3           Q     Okay.      At the time that you received this
 4      letter in June of 2018 did you have any other
 5      things happening in your life that were causing
 6      you emotional distress?
 7           A     No.
 8           Q     Is your health, generally, good?
 9           A     Generally, yes.
10           Q     Did you have a death in the family at
11      around that time?
12           A     No.
13           Q     Have you ever been divorced?
14           A     No.
15           Q     Kids are healthy, your son is healthy?
16           A     Yes.
17           Q     Did you have any emotional distress as a
18      result of the foreclosure proceedings?
19           A     No.
20           Q     Did you have any emotional distress over
21      the bankruptcy proceedings?
22           A     Yes.
23           Q     What was it about the bankruptcy
24      proceedings that caused you emotional distress?

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 58 of 92 PageID #:268

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 35
 1           A     Having to file bankruptcy, losing our
 2      home.
 3           Q     That's distressing, right?
 4           A     Yes.
 5           Q     What was the reason why you needed to
 6      file bankruptcy?
 7           A     We couldn't afford the second mortgage
 8      that was due; and, with the market being under
 9      water as it was, we were unable to make the
10      payment.
11           Q     How long did you have emotional distress
12      related to the bankruptcy itself?
13           A     Continues today.
14           Q     Are you suffering any financial
15      ill-effects today as a result of having filed the
16      bankruptcy?
17           A     No.
18           Q     So then why is it that today you're still
19      distressed over the bankruptcy itself?
20           A     Well, I think -- well, I'll say that it's
21      distressing to file a bankruptcy and I think that
22      there's a social stigma associated with it; and I
23      think it's something that society, in general,
24      looks down upon, and myself included in that

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 59 of 92 PageID #:269

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 36
 1      group, it's maybe a sign of weakness in life.
 2      But I also know that there's a brighter side to
 3      it, obviously.
 4           Q     Have you had difficulty obtaining a loan
 5      since the bankruptcy?
 6           A     None that I've applied for.
 7           Q     Has it affected your credit?
 8           A     Yes.
 9           Q     Has it adversely affected your credit?
10           A     Yes.
11           Q     And in what way has it adversely affected
12      your credit?
13           A     Reduction in credit score.
14           Q     Do you know what your credit score is
15      now?
16           A     I do.
17           Q     What is it?
18           A     728.
19           Q     What was it before the bankruptcy, if you
20      know?
21           A     653.
22           Q     But the reduced credit score itself
23      apparently hasn't affected you financially so
24      far, right?

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 60 of 92 PageID #:270

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 37
 1           A     No.
 2           Q     It hasn't affected your ability to get
 3      the home that you presently live in, right?
 4           A     Yes.
 5           Q     It did?
 6           A     Yeah, we don't own the home that we live
 7      in currently.
 8           Q     You rent?
 9           A     We rent.
10           Q     Is that because you felt you couldn't get
11      a loan?
12           A     Yes.
13           Q     Did you attempt to get a loan?
14           A     No.
15           Q     You just thought it wouldn't work?
16           A     We've had discussions about it and we've
17      made ourselves aware of the rules.                       We've
18      actually have purchased a few homes.                        So we know
19      that two years out from the bankruptcy with solid
20      credit we can try again, and that's about where
21      we are right now.
22           Q     Okay, but prior to two years after the
23      bankruptcy, as a result of the bankruptcy you
24      thought it would be very difficult to get a loan

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 61 of 92 PageID #:271

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 38
 1      to buy a house?
 2           A     Yes.
 3           Q     Okay, and that's based on your experience
 4      of having purchased homes?
 5           A     Yes.
 6           Q     How many homes have you purchased?
 7           A     Three.
 8           Q     This is the third one now where you're
 9      living?
10           A     No, we were -- we're renting.
11           Q     So three homes prior to the home that
12      you're renting right now?
13           A     Yes.
14           Q     So I have a question for you about your
15      response to interrogatory number six, which is on
16      page 2.       Let me know when you're there.
17           A     I'm there.
18           Q     I'm not going to read the entire thing;
19      but the response says "plaintiff states he has
20      not communicated regarding the allegations made
21      in the complaint with anyone other than" -- with
22      anyone other than" -- I think that's a
23      duplication there -- "Nicole T. Wortman",
24      correct?

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 62 of 92 PageID #:272

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 39
 1           A     Correct.
 2           Q     And Nicole you said, of course, is your
 3      wife?
 4           A     Correct.
 5           Q     And the Ross Lane address is the location
 6      where you presently reside?
 7           A     Correct.
 8           Q     Okay.      You did speak with your attorney
 9      though, correct, you've already told me that?
10           A     Correct.
11           Q     Okay, so you did speak with your attorney
12      about the allegations made in the complaint?
13           A     I did.
14           Q     Okay.      When you received the letter in
15      June of 2018 did you call Ira T. Nevel?
16           A     No.
17           Q     Why not?
18           A     I called my attorney.
19           Q     But the letter came from Ira T. Nevel,
20      correct?
21           A     Correct.
22           Q     And you say you were confused about the
23      letter, right?
24           A     Right.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 63 of 92 PageID #:273

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 40
 1           Q     So why didn't you call Mr. Nevel and ask
 2      him to explain it?
 3           A     Because my attorney was handling the
 4      bankruptcy and the foreclosure case; and I was
 5      instructed by my attorney to call him if we
 6      received any letters from any debt collectors for
 7      any reasons, including any phone calls.                         So that
 8      was my first course of action.
 9           Q     And were you instructed not to contact
10      the sender of any such letter?
11           A     No.
12           Q     You just felt that the proper course
13      would be to contact your own attorney and not
14      Mr. Nevel?
15           A     Yes.
16           Q     If I could ask you to move along a little
17      bit, we're looking at page 3, number 13, question
18      is "Does plaintiff have any evidence that a
19      significant fraction of the population would be
20      misled by Exhibit A to the complaint?                        If so,
21      identify any and all such evidence."                        Did I read
22      that correctly?
23           A     Yes.
24           Q     All right, and your response "plaintiff,

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 64 of 92 PageID #:274

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 41
 1      himself, was misled", correct?
 2           A     Correct.
 3           Q     All right, do you know anyone else that
 4      was mislead by this letter besides yourself and
 5      perhaps your wife?
 6           A     No.
 7           Q     Other than your own personal opinion do
 8      you have any reason to believe that anyone
 9      receiving such a letter would be misled?
10           A     Yes.
11           Q     Okay, explain that for me.
12           A     Well, the way the letter is set up, the
13      body of the letter itself on the first page is
14      very descriptive in its attempt to collect the
15      debt on behalf of the -- their collector, who the
16      debt is due, and it goes on to give descriptive
17      information related to how it's to be paid and
18      how they would continue to pursue the debt
19      related to its collection; and it's not until you
20      get into the end of the second page there is
21      actually fine print disclaimer related to process
22      of bankruptcy.           I don't know why that would be
23      there and not at the very top of that letter, in
24      order to disarm a customer like myself and

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 65 of 92 PageID #:275

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 42
 1      someone else into not believing that this was
 2      intended to do what it actually says, and that is
 3      to collect the debt it says that we owed.                          It
 4      actually goes on to say "debt" more than ten
 5      times I believe in the letter itself and that
 6      they're going to collect the debt.                       I think the
 7      average person would read this for exactly what
 8      it says on the first page and may glance at the
 9      second page initially and, of course, with
10      thorough inspection of course read through it, as
11      any consumer would; but, even reading the last
12      part of the letter, it still led us to believe
13      that we owed the money.
14           Q     Okay, and so that answer that you just
15      gave me -- and you explained very well -- is
16      based upon your personal reading of this letter,
17      correct?
18           A     Correct, mine and my wife's, yes.
19           Q     Yes, that's what I asked you.                    It's not
20      based on the advice or opinion of anyone else,
21      correct?
22           A     No, sir.
23           Q     So what I said was right?
24           A     Correct.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 66 of 92 PageID #:276

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 43
 1           Q     All right.         So, despite your own personal
 2      opinion about the letter, you don't have any
 3      evidence from any other source that the letter is
 4      misleading, is that right, is that fair to say?
 5           A     That's fair to say, yes.
 6           Q     Okay.      Now, I want to ask you about page
 7      4, number 18, asks you to identify compensatory
 8      damages, if any, that you're seeking.                        Do you see
 9      that?
10           A     I do.
11           Q     Okay, do you know what compensatory
12      damages are?
13           A     I do.
14           Q     Okay, and are you seeking compensatory
15      damages?
16           A     No.
17           Q     Paragraph -- Strike that.
18                    Interrogatory number 19, page 5,
19      "complete terms of engagement you have with each
20      attorney representing you", do you see that?
21           A     I do.
22           Q     Do you have a written contract with
23      Mr. Davidson's firm?
24           A     I do.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 67 of 92 PageID #:277

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 44
 1           Q     What are the terms?
 2           A     That they were to represent us throughout
 3      the bankruptcy foreclosure process and any
 4      processes or complaints that arose during that
 5      process.
 6           Q     Is it your understanding that that would
 7      include this litigation that we're here talking
 8      about today?
 9           A     Yes.
10           Q     And how are they being compensated?
11           A     I am unsure.
12           Q     Do you have a copy of this written
13      agreement?
14           A     I believe I do, yes.
15           Q     Is there some reason why you haven't
16      turned it over?
17           A     I'm sorry?
18           Q     Is there some reason why you haven't
19      provided it to me?
20           A     No.
21           MR. DAVIDSON:          (Inaudible).
22           THE COURT REPORTER:              I'm sorry, counsel?
23           MR. DAVIDSON:          At the advice of counsel we
24      haven't provided it.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 68 of 92 PageID #:278

                                    SHANE W. WORTMAN
                                    November 22, 2019

                                                                            Page 45
 1           MR. HANEY:         Q       Is that right?
 2           THE WITNESS:           A    Correct.
 3           Q     This is 4.
 4                    (document marked as requested)
 5           MR. HANEY:         Q    Mr. Wortman, showing you
 6      what's been marked as your Deposition Exhibit
 7      Number 4, this is a document entitled Plaintiff's
 8      Responses and Objections to Law Offices of Ira T.
 9      Nevel's -- I'm sorry, I read that wrong.                          Let me
10      start again.
11                    This is entitled "Plaintiff's Responses
12      and Objections to Law Offices of Ira T. Nevel,
13      LLC's First Set of Requests for Production of
14      Documents".         Did I read it right that second
15      time?
16           A     Yes.
17           Q     Okay.      Have you seen this before?
18           A     I believe so, yes.
19           Q     I just have a few questions about this
20      one.      First, I have a question about the request
21      number 8 on page 3.
22           A     I see it.
23           Q     Okay, and it says "All documents
24      evidencing the fact that plaintiff disputed the

                                    TOOMEY REPORTING
                                      312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 69 of 92 PageID #:279

                                    SHANE W. WORTMAN
                                    November 22, 2019

                                                                            Page 46
 1      alleged debt with the defendant.                     Response:
 2      None".       Is that right?
 3           A     Correct.
 4           Q     Okay, and I think you've already told me
 5      this; but it's true that you never sent any kind
 6      of a letter, communication, or made any phone
 7      call to Ira T. Nevel about the letter, right?
 8           A     Correct.
 9           Q     Okay.      So, of course, there are no such
10      documents then, right?
11           A     Correct.
12           Q     This is Number 5.
13                    (document marked as requested)
14           MR. HANEY:         Q     I'm going to ask you to look
15      at 4 and 5 sort of side by side.                     Okay,
16      Mr. Wortman, looking at -- first of all, going
17      back to Exhibit Number 4 again, if you would, the
18      response to the request number one references
19      "Wortman 1 through 59".                Do you see that?
20           A     Yes.
21           Q     Okay.      And if you look at Exhibit Number
22      5 at the bottom right there are these numbers
23      that we attorneys called Bates stamped numbers.
24           A     I see them.

                                    TOOMEY REPORTING
                                      312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 70 of 92 PageID #:280

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 47
 1           Q     And you see the documents which comprise
 2      Exhibit Number 5 are numbered on the bottom right
 3      1 through 59, correct?
 4           A     Correct.
 5           Q     All right, is it your understanding then
 6      that Exhibit 5 are the documents that were
 7      produced to my law firm in response to the
 8      request for production of documents?
 9           A     Yes, that appears to be the case.
10           Q     Okay, and the documents filed in Exhibit
11      Number 5 include at pages 1 and 2 the letter,
12      right?
13           A     Correct.
14           Q     And then thereafter is your bankruptcy
15      petition, correct?
16           A     Correct.
17           Q     You recognize the documents 3 through 59
18      as being documents related to your bankruptcy
19      filing?
20           A     I do.
21           Q     Okay.      So now if I could direct your
22      attention to, back to Exhibit Number 4, request
23      number 11.         Are you there?
24           A     I'm there.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 71 of 92 PageID #:281

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 48
 1           Q     So I just want to make sure I'm not
 2      missing anything here; but request number 11 asks
 3      for any and all evidence in your possession that
 4      supports or tends to support the proposition that
 5      a significant fraction of the population would be
 6      misled by Exhibit A to the complaint, is that the
 7      request?
 8           A     Correct.
 9           Q     And your answer is "see Wortman 1 and 2",
10      correct?
11           A     Correct.
12           Q     And Wortman 1 and 2, as we know from
13      Exhibit 5, is the letter, right?
14           A     Correct.
15           Q     So am I right that you don't have any
16      documents to support the allegation that a
17      significant portion of the population would be
18      misled by Exhibit A, the letter, other than the
19      letter itself?
20           A     The letter itself would be the evidence,
21      definitely.
22           Q     And you're not aware of any other
23      documentary evidence other than the letter
24      itself?

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 72 of 92 PageID #:282

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 49
1            A     Just the letter would be enough.
2            Q     Okay, but I understand your -- I
3       understand your testimony completely I think.
4       You're not aware of any other evidence?
5            A     Not that I'm aware of, no.
6            Q     Okay.       Then Number 13 on that same page
7       if you would.
8            A     I'm there.
9            Q     The request is "If plaintiff is seeking
10      recovery of damages for any medical condition,
11      including emotional distress they claim to have
12      suffered as a result of the defendant's alleged
13      conduct, please produce all of your medical
14      records from January 1st, 2015 to the present".
15      Did I read that right?
16           A     Yes.
17           Q     And your answer is "none", correct?
18           A     Correct.
19           Q     Does the answer "none" mean that you are
20      not seeking recovery of damages for any medical
21      condition, including emotional distress?
22           A     Correct.
23           Q     Okay.       Number 18, page 4.
24           A     I'm there.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 73 of 92 PageID #:283

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 50
 1           Q     Okay, asks for copies of bankruptcy
 2      petitions, right?
 3           A     Correct.
 4           Q     And I'm referenced 1 through 59, correct?
 5           A     Correct.
 6           Q     Actually, as we know, 1 and 2 is the
 7      letter?
 8           A     The letter.
 9           Q     And the remaining 3 through 59 would be
10      the bankruptcy petitions, or petition, correct?
11           A     Correct.
12           Q     All right, I think I'm just about
13      finished.        I'm just looking over my notes.
14                    All right, so I think I have just a
15      couple more questions then.                   I don't want you to
16      be offended by this question, but I have to ask
17      everybody who sits across the table from me at a
18      deposition this question:                 Have you ever been
19      convicted of a felony?
20           A     No.
21           Q     Have you ever been convicted of a
22      misdemeanor involving truth or dishonesty?
23           A     No.
24           MR. HANEY:         Okay, I don't have any questions.

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 74 of 92 PageID #:284

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 51
 1           MR. DAVIDSON:          I just have three.
 2                                     EXAMINATION
 3                               by Mr. Davidson:
 4           Q     I'd just like you to take a look at
 5      Exhibit 2, Exhibit A to the complaint, going back
 6      to the letter.
 7           A     I'm there.
 8           MR. HANEY:         Wait, let me get there.                I've got
 9      it.
10           MR. DAVIDSON:          Q      Flip the page, the fine
11      print, I'd like you to read the first disclaimer
12      in fine print.
13           THE WITNESS:          A     "This law firm is a debt
14      collector and we are attempting to collect a debt
15      owed to our client.              Any information obtained
16      from you will be used for the purpose of
17      collecting the debt."
18           Q     Now, they've identified themselves as a
19      debt collector attempting to collect a debt.
20      What does that make -- What does "debt" mean to
21      you?
22           A     That means that you owe money.
23           Q     Okay.      Do you think that the fact that it
24      says that followed, taken into conjunction with

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 75 of 92 PageID #:285

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 52
 1      the rest of the letter, is confusing when read
 2      with the last disclaimer, the third disclaimer,
 3      regarding the bankruptcy?
 4           A     I think it's the direct source of the
 5      confusion itself.             I think the letter, the way
 6      it's stated in the body of the letter, there's a
 7      certain level of aggression towards collecting
 8      the actual debt and the process that they'll
 9      follow to collect the money, and then at the very
10      end of the letter they almost try to shrug off
11      all the people that they think it may not be
12      necessarily intended for; and I think anyone in
13      our situation that would receive such a letter
14      would have the same response.
15           Q     Thank you.
16                    The last question I have is you
17      indicated that this really had an effect on your
18      marriage earlier.             Can you further expound on
19      that?
20           A     Well, I think it's difficult for anyone
21      in a married household with kids, with
22      responsibilities, to face bankruptcy and
23      potential losing their home; and then, to feel
24      like you've been successful in that task and that

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 76 of 92 PageID #:286

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 53
 1      you're finally moving towards the rest of your
 2      life in recovery, to have something like this
 3      show up and kind of tear down all the progress
 4      that you think you've made emotionally it was
 5      very distressing on our marriage initially when
 6      we received the letter because we thought it
 7      didn't work, we thought the bankruptcy did not
 8      work, even after our conversations and
 9      discussions with the lawyer and your office my
10      wife was still afraid that we were going to be
11      pursued with legal action because of how
12      aggressive the letter was stated initially --
13      many nights crying, arguments, the kids hearing
14      us arguing about it.               And, of course, they're
15      teenagers, so they're aware of what's going on,
16      so there was stress throughout the household for
17      quite a period of time.
18                    It's come up again now that I'm back
19      here doing the deposition, it's kind of rekindled
20      the source of the conversation and source of the
21      heartache.
22           Q     My last question:             You indicated that you
23      had some emotional distress during the
24      bankruptcy.         The bankruptcy discharge was

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 77 of 92 PageID #:287

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 54
 1      September 11th, 2017.               You didn't receive this
 2      letter until June of 2018.                  Is it safe to say
 3      that a lot of that emotional distress over the
 4      bankruptcy had kind of subsided, and it wasn't
 5      until you received this letter that it --
 6           MR. HANEY:         Object to the form of the
 7      question, but you can answer.
 8           THE WITNESS:          A     Receiving the letter kind
 9      of took the air out of our sails, took our breath
10      away.      We were under the impression that we had
11      separated from the bankruptcy, we paid our debt
12      as agreed, we had used the process as intended;
13      and I could tell you when we actually knew we
14      were going to pay everything off and be able to
15      have it discharged it was almost like a
16      celebration -- we actually went out to dinner
17      together.        We were happy to be away from it.
18      It's just a moment in your life where, okay,
19      we're finally past this; and, yes, we thought it
20      was over until we received the letter.
21           MR. DAVIDSON:          Okay, no further questions.
22           MR. HANEY:         Just a couple quick ones.
23

24


                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 78 of 92 PageID #:288

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 55
 1                              FURTHER EXAMINATION
 2                                  by Mr. Haney:
 3           Q     Mr. Wortman, you told me that bankruptcy,
 4      particularly the bankruptcy that you went through
 5      in this case, was a distressing event, correct?
 6           A     Correct.
 7           Q     So, regardless of whether or not you ever
 8      received the letter, you would have had the
 9      stress related to the bankruptcy proceeding,
10      correct?
11           A     I think at the point we received the
12      letter we felt like we actually had been
13      successful in the process of the bankruptcy; and
14      receiving the letter removed that feeling of
15      success, it removed the thought that we had
16      separated ourselves.               We, literally, were under
17      the impression that now, even though we did the
18      bankruptcy, we were now still going to be
19      responsible to pay the debt back to the bank.
20           Q     I understand that.             But whether or not
21      you ever got this letter you still would have had
22      the stress related to the bankruptcy, fair?
23           A     Fair, yes.
24           Q     I don't have anything else.                   Thank you

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 79 of 92 PageID #:289

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 56
1       for your time.              Appreciate it.
2            A      Thank you.
3            Q      We're done.
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24


                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 80 of 92 PageID #:290

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 57
 1        STATE OF ILLINOIS)
                           ) ss:
 2          COUNTY OF COOK )
 3                      The within and foregoing deposition of
 4      the aforementioned witness was taken before
 5      NANCY K. SPEARE, C.S.R. and Notary Public, at the
 6      place, date, and time aforementioned.
 7                      There were present during the taking
 8      of the deposition the previously named counsel.
 9                      The said witness was first duly sworn
10      and was then examined upon oral interrogatories;
11      the questions and answers were taken down in
12      shorthand by the undersigned, acting as
13      stenographer and Notary Public; and the within
14      and foregoing is a true, accurate and complete
15      record of all of the questions asked of and
16      answers made by the aforementioned witness, at
17      the time and place hereinabove referred to.
18                      The signature of the witness was not
19      waived, and the deposition was submitted,
20      pursuant to Rules 30(e) and 32(d) of the Rules of
21      Civil Procedure for the United States District
22      Courts, to the deponent per copy of the attached
23      letter.
24                      The undersigned is not interested in

                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 81 of 92 PageID #:291

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 58
 1      the within case, nor of kind or counsel to any of
 2      the parties.
 3                      Witness my official signature and seal
 4      as Notary Public in and for Cook County, Illinois
 5      on this 21st day of September, A.D., 2020.
 6

 7                                  _______________________________
                                    NANCY K. SPEARE, C.S.R.
 8                                  Notary Public
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24


                                   TOOMEY REPORTING
                                     312-853-0648
     Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 82 of 92 PageID #:292

                                   SHANE W. WORTMAN
                                   November 22, 2019

                                                                            Page 59
 1                             TOOMEY REPORTING
                           205 West Randolph Street
 2                                Suite 2201
                            Chicago, Illinois 60606
 3

 4                            WITNESS CERTIFICATION
 5

 6              I hereby certify that I have read the
 7      foregoing transcript of my deposition consisting
 8      of pages 1 through 59 inclusive.                     Subject to the
 9      changes set forth on the preceding pages, the
10      foregoing is a true and correct transcript of my
11      deposition taken on 11-22-19.
12

13

14

15

16                               signed: _________________________
17                                            SHANE W. WORTMAN
18

19      SUBSCRIBED AND SWORN TO
        before me this ____ day of
20      __________, A.D. 2020.
21

22

23

24


                                   TOOMEY REPORTING
                                     312-853-0648
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 83 of 92 PageID #:293

                                  SHANE W. WORTMAN
                                  November 22, 2019
                                                                                   Page 1

        A        aggressive        20:11 47:9      39:8,11,18   32:3,23         47:2
 A.D 1:16          53:12         applicable        40:3,5,13    34:21,23       break 6:19,21
   58:5 59:20    ago 5:12 6:5      4:12 25:19      43:20        35:1,6,12      breath 54:9
 a.m 1:16          6:15 17:1     applied 36:6    attorneys      35:16,19,21    briefly 6:16
 abbreviated     agree 20:1,9    Appreciate        8:14 27:12   36:5,19        brighter 36:2
   18:24           20:10           56:1            46:23        37:19,23,23    brought 13:6
 ability 37:2    agreed 54:12    approxima...    attorneys'     40:4 41:22      13:12,13
 able 25:23      agreement         32:5            15:4,11      44:3 47:14     build 10:9,11
   31:7 32:4       4:9 12:21     arguing         attribute      47:18 50:1     bulk 23:22
   54:14           44:13           53:14           33:7         50:10 52:3     business 10:8
 absolutely      ahead 24:18     arguments       auction 27:4   52:22 53:7      11:2
   7:23 23:24    air 54:9          53:13           27:18        53:24,24       buy 38:1
 absorb 23:20    allegation      arose 44:4      August 5:13    54:4,11
                   48:16         aside 17:23       29:2         55:3,4,9,13           C
 accident 6:7
 accommod...     allegations     asked 42:19     Aurora 9:24    55:18,22       C.S.R 1:11
   6:20 12:23      29:18 38:20     57:15           10:21      based 22:4         57:5 58:7
 accurate          39:12         asking 4:17     auto 6:7       38:3 42:16     call 4:22 23:5
   29:10 57:14   alleged 15:24     7:2 26:8      Avenue 2:2     42:20            25:3 39:15
 acquired          46:1 49:12    asks 14:2,15      10:2,3     bases 10:16        40:1,5 46:7
   19:13         alleviated        43:7 48:2     average 42:7 basically        called 4:2
 Act 18:22         31:10           50:1          aware 31:4     19:11            23:8 39:18
   19:4,14       America 28:5    associated        31:17 32:2 Bates 46:23        46:23
 acting 57:12    amount            30:1,22         37:17 48:22behalf 1:4 2:5   calls 14:20
 action 1:4        21:11           32:19 35:22     49:4,5       2:10 41:15       40:7
   18:6 40:8     anniversary     Association       53:15      believe 22:6,7   case 6:6,10
   53:11           9:12            21:10                        22:15 26:4       26:20 27:23
                 annual 16:22    assumed               B        27:4,15          40:4 47:9
 actual 8:6
   15:3 20:15    answer 7:3        24:10         back 23:14     41:8 42:5        55:5 58:1
   29:17,19        29:23 30:3    Atlas 2:1        23:21 26:7    42:12 44:14    cause 32:11
   52:8            42:14 48:9      27:9 28:2      46:17 47:22   45:18          caused 33:10
 Adams 2:7         49:17,19      attached         51:5 53:18 believing           34:24
 address 5:16      54:7            20:15 57:22    55:19         42:1           causing 34:5
   10:1 17:2     answered        attempt         Badwan 8:17 Berwyn 11:8       celebration
   22:10 39:5      23:15           25:20 26:16   bank 17:7    bills 15:11        54:16
 adversely       answering         37:13 41:14    21:9,10,10 birth 5:19        cents 21:12
   36:9,11         6:22          attempting       24:16 28:5 bit 24:18         certain 52:7
 advice 42:20    answers 7:5       51:14,19       55:19         40:17          CERTIFIC...
   44:23           8:8 29:10     attention       bankruptcy blood 33:14          59:4
 afford 35:7       57:11,16        19:17 30:17    17:8,11,21 Bob 4:15          certified
 aforementi...   apologize         30:18 47:22    21:9 23:12 body 21:18          22:14
   57:4,6,16       21:11         attorney 7:13    24:7,14       23:19 24:10    certify 59:6
 afraid 53:10    apparently        13:16,19       25:17,19      41:13 52:6     chance 29:6
 aggression        36:23           26:10 27:11    30:2,23     border 10:16       33:1
   52:7          appears           27:23 28:6     31:3,19,20 bottom 46:22      changes 59:9


                                   TOOMEY REPORTING
                                     312-853-0648
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 84 of 92 PageID #:294

                                  SHANE W. WORTMAN
                                  November 22, 2019
                                                                                     Page 2

 check 21:20     come 5:13         32:7             26:9 31:10     costs 15:5    15:21 16:5
 checkups          12:24 53:18   confused           31:18 53:20    counsel 1:19  29:17,20
   16:22         Comforts          32:11,21       conversatio...     11:22,23    30:8 43:8
 Chicago 2:8       9:21            39:22            14:16 53:8       44:22,23    43:12,15
   59:2          communic...     confusing        convicted          57:8 58:1   49:10,20
 citizens 19:8     38:20           24:3 52:1        50:19,21       County 57:2  date 4:9 5:19
 Civil 1:4,12    communic...     confusion        Cook 57:2          58:4        12:18,20
   4:12 57:21      14:3 46:6       29:24 30:5       58:4           couple 5:13   17:18 20:4
 claim 15:3,17   commute           30:9,21        copies 17:7,8      18:17 22:5  20:5,9 57:6
   33:19 49:11     10:1            31:11 32:12      50:1             34:1 50:15 dated 4:20
 claimed         compensated       32:18 33:2     copy 13:13         54:22       20:6 21:24
   15:23           44:10           33:5 52:5        44:12 57:22    course 6:24   22:4
 claiming        compensat...    Congratula...    core 30:18         23:5,20,21 daughter
   29:17 33:13     43:7,11,14      9:13           correct 12:7       24:2,17     5:18
   33:17         complaint       conjunction        12:13,14,19      39:2 40:8  Davidson 2:1
 claims 15:1       7:15,24 8:6     51:24            14:5,6,22        40:12 42:9  3:7 8:15
   29:23           8:8 13:13     considered         14:23 17:12      42:10 46:9  23:10,11
 Class 18:6        18:6,18,21      32:15            18:12,15,16      53:14       25:4,24
 clean 7:3         19:15,18      consisting         18:22,23       courses 11:15 26:3,9
 Cleaning          20:16 29:19     59:7             20:7,16,22     court 1:1     27:10,13
   10:19,23        38:21 39:12   consult 31:7       21:1,2 22:1      4:19 7:3    31:8,18
 clear 25:16       40:20 48:6    consulting         22:2,10          10:11 24:4  32:5 44:21
 clearly 26:18     51:5            31:6             23:17 25:21      44:22       44:23 51:1
 client 51:15    complaints      consumer 2:1       32:6,8,9       Courts 1:13   51:3,10
 collect 21:17     44:4            27:9 28:2        38:24 39:1       57:22       54:21
   24:12 25:20   complete          42:11            39:4,7,9,10    cover 6:16   Davidson's
   26:16 41:14     43:19 57:14   contact 40:9       39:20,21         8:10        43:23
   42:3,6        completed         40:13            41:1,2         covered 6:18 day 25:11,12
   51:14,19        27:2,14,15    contained          42:17,18,21    credit 36:7,9 25:24 58:5
   52:9          completely        22:24 29:18      42:24 45:2       36:12,13,14 59:19
 collecting        7:2 49:3      continue           46:3,8,11        36:22 37:20days 22:5
   51:17 52:7    comprise          32:18 41:18      47:3,4,13      crying 53:13  33:22 34:1
 collection        47:1          continued          47:15,16       currently    death 34:10
   18:22 19:4    concerns          4:9 12:20        48:8,10,11       24:2,4,7   debt 18:22
   19:14 24:17     17:7            23:23            48:14 49:17      25:17 33:22 19:3,9,14
   41:19         concerts        Continues          49:18,22         37:7        21:17,18,22
 collections       10:15           35:13            50:3,4,5,10    custom 10:9   25:18,21
   19:9          condition       continuing         50:11 55:5       10:12,13    26:16 40:6
 collector         15:22 16:5      21:16            55:6,10        customer      41:15,16,18
   41:15 51:14     16:11 49:10   contract           59:10            41:24       42:3,4,6
   51:19           49:21           43:22          correctly                      46:1 51:13
 collectors      conduct         contradicto...     15:6 16:2           D        51:14,17,19
   40:6            15:24 49:13     24:9             29:21 30:3     damages 15:3  51:19,20
 college 11:15   confirmed       conversation       40:22           15:4,5,18    52:8 54:11


                                   TOOMEY REPORTING
                                     312-853-0648
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 85 of 92 PageID #:295

                                    SHANE W. WORTMAN
                                    November 22, 2019
                                                                                          Page 3

   55:19            27:19            33:5 34:6      downtown           54:3             3:15 12:3
 decontami...     difficult          34:17,20,24     12:24           emotionally        18:5,14,15
   10:10            37:24 52:20      35:11 49:11    Dr 16:17           53:4             20:15,20
 defendant        difficulty         49:21 53:23    due 35:8         employed           28:15,21
   1:8 2:10         36:4             54:3            41:16             9:18             40:20 45:6
   14:4 19:22     digits 5:21      distressed       duly 4:3 57:9    engagement         46:17,21
   21:1 46:1      dinner 54:16       35:19          dunning            43:19            47:2,6,10
 defendant's      direct 19:17     distressing       19:22 20:2      entire 20:20       47:22 48:6
   15:24 49:12      24:9 31:4        35:3,21        DuPage             22:17,22         48:13,18
 definite 30:18     31:20,23         53:5 55:5       16:17             23:17 38:18      51:5,5
 definitely         47:21 52:4     District 1:1,1   duplication      entirety 25:9    EXHIBITS
   48:21          director 10:5      1:13 4:14       38:23             27:21 32:16      3:10
 deponent         disarm 41:24       4:19 57:21                      entitled 12:6    expenses 15:4
   57:22          discharge        DIVISION               E            28:16 45:7       15:15
 deposition         17:16,18,20      1:2            E 2:6              45:11          experience
   1:10,19 3:1      21:8 24:9      divorced         earlier 18:9     equipment          38:3
   4:8,11,21        24:14 25:18      34:13            20:14,23         10:19,23       explain 24:21
   5:24 6:14        31:19,21       doctor 16:10       21:23 52:18      11:3,4           29:19 40:2
   6:17 7:11        32:1,3           33:5           early 23:13      event 10:14        41:11
   8:12 9:2,4       53:24          doctor's         East 11:8          55:5           explained
   12:3,7,11      discharged         30:17          EASTERN          events 10:14       42:15
   12:15 18:5       21:23 32:23    document           1:2            everybody        expound
   18:12 28:15      54:15            11:23 12:1     economic           50:17            52:18
   29:7 45:6      disclaimer         12:4,6 18:3      15:17          everyone's       ext 2:3
   50:18 53:19      23:22 24:1       28:13,16       education          12:20
   57:3,8,19        25:7,14,16       45:4,7           11:5,12        evidence                F
   59:7,11          26:14 33:1       46:13          effect 30:2,24     40:18,21       F-D-C-P-A
 depositions        41:21 51:11    documentary        31:2,4,19        43:3 48:3        18:24
   1:14             52:2,2           48:23            31:20,23         48:20,23       face 52:22
 deposits         disconnecti...   documents          32:3 52:17       49:4           fact 32:24
   21:19            24:16            7:10,16,19     Eighteen         evidencing         45:24 51:23
 describing       discuss 8:12       9:3 13:6,6       17:7             45:24          Factory
   32:14          discussions        13:16,18,22    electronic       exactly 13:12      10:19,22
 descriptive        37:16 53:9       14:3,12          28:21,24         31:9 42:7      fair 14:19
   21:21 41:14    dishonesty         15:1,2,8       emotional        EXAMINA...         18:22 19:3
   41:16            50:22            18:10 29:5       15:22 16:8       3:5 4:5 51:2     19:14 31:12
 despite 26:18    disputed           45:14,23         16:11 29:24      55:1             43:4,5
   43:1             45:24            46:10 47:1       30:6,7,11      examined 4:3       55:22,23
 details 27:22    distress 15:22     47:6,8,10        30:22 31:11      57:10          familiar 19:3
 determinat...      16:8,11          47:17,18         32:12,19       excuse 4:14      familiarized
   31:5             29:24 30:6       48:16            33:5 34:6        17:8             18:11
 devastating        30:7,12,12     doing 8:21         34:17,20,24    executed 8:3     family 16:18
   23:3             30:22 31:11      53:19            35:11 49:11    exhibit 3:11       30:14 34:10
 different          32:12,19       dollars 21:11      49:21 53:23      3:12,13,14     far 7:8 27:21


                                     TOOMEY REPORTING
                                       312-853-0648
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 86 of 92 PageID #:296

                                    SHANE W. WORTMAN
                                    November 22, 2019
                                                                                   Page 4

    36:24            40:8 41:13      34:8,9    50:24 51:8       2:3,8 4:14       42:10
 father 5:18         42:8 45:13    getting 15:11
                                               54:6,22          4:20 5:10      instructed
 fault 21:3,5        45:20 46:16     24:18 33:15
                                               55:2             9:24 10:21       40:5,9
    21:13            51:11 57:9      33:18   happening          11:9 57:1      intended
 February         five 12:9        give 13:16,18
                                               34:5             58:4 59:2        42:2 52:12
    27:15            29:13           13:24 24:21
                                             happy 6:19       immediately        54:12
 federal 1:12     flip 23:20         41:16     54:17            23:5,18        intending
    4:12,19          51:10         given 5:24health 34:8      impression         24:12
 feel 31:15       floored 23:4       6:14    healthy 34:15      54:10 55:17    intent 19:9
    52:23         follow 52:9      glance 42:8 34:15          inaudible          21:21
 feeling 55:14    followed         go 13:4   hear 4:24          24:3 44:21     interest 17:7
 fees 15:4,12        51:24         goes 21:16hearing          include 44:7     interested
 felony 50:19     following          41:16 42:453:13            47:11            57:24
 felt 31:23          1:19 26:4     going 4:17,22
                                             heartache        included         internal 33:9
    37:10 40:12   follows 4:4        9:5 22:5  53:21            27:13 35:24      33:10
    55:12         foreclosure        38:18 42:6
                                             hereinabove      includes         interrogato...
 file 7:17           26:22 27:1      46:14,16  57:17            12:12            4:4 8:1,2
    17:11 35:1       27:8,14,20      51:5 53:10
                                             high 11:6,7,8    including          28:18 57:10
    35:6,21          27:20 34:18     53:15 54:14
                                               11:12 33:14      15:22 40:7     interrogato...
 filed 17:8          40:4 44:3       55:18   highest 11:5       49:11,21         8:7 29:10
    35:15 47:10   foregoing        good 34:8 Highland         inclusive 59:8     29:13 38:15
 filing 17:14        57:3,14       government  1:15 2:2       Incorporated       43:18
    47:19            59:7,10         10:15   hold 25:3,23       9:22           introduced
 finally 53:1     form 15:14       grad 11:6 home 9:21        incorrect          4:16
    54:19            54:6          graduate    30:19 35:2       20:8           involving
 financial        forth 59:9         11:7,10   37:3,6         incurred           4:20 50:22
    35:14         forwarded        ground 6:17 38:11 52:23      29:17          Ira 1:7 14:5
 financially         7:17          group 16:17
                                             homes 37:18      indicated          28:17 39:15
    36:23         four 5:21          30:18 36:138:4,6,11        18:9 52:17       39:19 45:8
 find 21:3,5         14:14         guess 13:8honest 23:2        53:22            45:12 46:7
    21:13         fraction           33:9    house 27:4,5     INDIVIDU...      item 14:2
 fine 23:21          40:19 48:5                27:17 38:1       1:3            items 13:5
    41:21 51:10   front 12:4          H      household        industrial
    51:12            13:8       half 5:12      30:12,16         10:15 11:3           J
 finish 6:23      full 5:6      handed 11:22   52:21 53:16    information      Jade 5:18
    7:1           further 17:21 handling                        25:20 26:11    January 16:1
 finished            23:23 24:1  40:3               I           29:9 41:17       49:14
    50:13            52:18 54:21Haney 2:6    identified         51:15          jdavidson...
 firm 27:11,13       55:1        3:6 4:6,15    51:18          initial 23:1       2:4
    43:23 47:7                   10:17 11:21 identify         initially 25:2   JOSEPH 2:1
    51:13               G        11:24 12:2    40:21 43:7       25:9 42:9      June 4:20
 first 4:2 25:2   general 19:12  18:4 28:11 ill-effects         53:5,12          19:21 20:5
    25:6 26:2       35:23        28:14 45:1    35:15          injury 6:10        20:6,7 22:1
    28:18 33:21   generally      45:5 46:14 Illinois 1:1,15   inspection         22:6,17


                                     TOOMEY REPORTING
                                       312-853-0648
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 87 of 92 PageID #:297

                                    SHANE W. WORTMAN
                                    November 22, 2019
                                                                                        Page 5

   25:1 32:6        47:7 51:13        51:6 52:1,5     9:11 10:6      15:21 16:1     Morton 11:8
   34:4 39:15     lawsuit 4:18        52:6,10,13      10:22 16:20    16:5,11,17     move 40:16
   54:2             13:20 15:15       53:6,12         32:18 35:11    49:10,13,20    moving 14:14
 jurisdictio...     15:18 16:12       54:2,5,8,20   look 7:14,20    meeting 9:6      14:24 53:1
   7:16,18        lawyer 31:6,8       55:8,12,14      13:1 29:6     mentioned
                    53:9              55:21 57:23     46:14,21       14:7 20:14           N
       K          lawyers 23:6     letter's 20:5      51:4          mentions        name 4:15
 K 1:11 57:5        23:7           letters 14:9     looked 13:7      21:17            5:6
   58:7           led 42:12           19:10 40:6    looking 40:17   message 23:9    named 57:8
 keep 26:8        Left 23:9        level 11:5         46:16 50:13   met 23:13       NANCY 1:11
 kids 30:14       legal 53:11         52:7          looks 35:24     middle 6:22       57:5 58:7
   34:15 52:21    lender 24:13     licenses 11:18   losing 35:1     military        National
   53:13          let's 20:18      LIEBERM...         52:23          10:16            21:10,10
 kind 11:16,19    letter 4:20,22      2:6           lost 33:21      mind 26:8       nature 6:6
   33:7 46:5        7:15 8:7       life 34:5 36:1   lot 54:3        mine 42:18        10:8 11:2
   53:3,19          13:14,23          53:2 54:18                    minutes 8:23    necessarily
   54:4,8 58:1      14:7 18:15     Lincolnway             M          18:17            52:12
 knew 54:13         19:22 20:2        27:6          mail 14:12      misdemean...    necessary 5:3
 know 5:2           20:12,15,17    line 14:14        22:14,14,15     50:22          need 6:18 7:1
   17:18 22:14      20:20,21,24       23:24         making 15:17    mislead 41:4    needed 35:5
   23:11,16         20:24 21:3     lines 23:23,23    16:4 21:19     misleading      Nevel 1:7
   24:24 27:21      21:6,7,18      literally         33:19           43:4             14:5,12,17
   28:6,9,10        21:24 22:3        20:19 55:16   malicious       misled 40:20      28:9,17
   32:11 33:4       22:7,13,17     litigation        19:9            41:1,9 48:6      39:15,19
   36:2,14,20       22:18,23          15:4,15       mark 11:24       48:18            40:1,14
   37:18 38:16      23:2,3,16         44:7           18:1 28:11     missing 48:2      45:12 46:7
   41:3,22          23:17,19       little 24:18     marked 12:1     misunderst...   Nevel's 14:10
   43:11 48:12      24:10,11          40:16          12:3 18:3,5     24:15            45:9
   50:6             25:1,7         live 5:9 37:3     28:13,15       Mohammad        never 46:5
 knowing 9:5        26:16 31:2        37:6           45:4,6          27:13          Nicole 5:17
 knowledge          31:16,18       lived 5:11        46:13          moment            9:9 38:23
   19:13 24:14      32:3,20,22     living 38:9      market 35:8      17:24 54:18      39:2
                    33:7,15,19     LLC 1:7          marketing       Monday 22:6     night 33:18
       L                                             10:5                           nights 53:13
                    33:24 34:4     LLC's 28:18                       26:4
 Lane 5:10          39:14,19,23       45:13         marriage        money 15:14     nine 21:8,23
   39:5             40:10 41:4     loan 36:4         30:13 52:18     21:9,16          32:22
 language           41:9,12,13        37:11,13,24    53:5            42:13 51:22    NOONAN
   22:23 24:6       41:23 42:5     local 4:13       married 9:7      52:9             2:6
   24:9 26:14       42:12,16       located 9:23      9:11 52:21     months 5:13     Northern 1:1
   26:18            43:2,3 46:6       10:20         mean 19:7        10:7 21:8        4:13,19
 law 1:7 2:1        46:7 47:11     location 39:5     49:19 51:20     21:23 32:22    Notary 1:11
   14:4,17          48:13,18,19    Lombard          means 19:5      morning 8:20      57:5,13
   25:19 28:17      48:20,23          1:15 2:3       51:22          mortgage          58:4,8
   45:8,12          49:1 50:7,8    long 5:11        medical          35:7           notes 50:13


                                     TOOMEY REPORTING
                                       312-853-0648
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 88 of 92 PageID #:298

                                 SHANE W. WORTMAN
                                 November 22, 2019
                                                                                      Page 6

 notice 4:9       26:3 53:9     opportunity        25:2 27:18     plaintiff's     print 23:21
  12:6,11,15    Offices 1:7       13:1 24:21       42:12            15:3 28:16     41:21 51:11
  25:19           14:5 28:17    opposing         particularly       45:7,11        51:12
 November         45:8,12         11:22            55:4           please 15:24    prior 18:11
  1:16 3:3      official 58:3   oral 4:3 57:10   parties 4:10       49:13          37:22 38:11
 number         Oh 25:12        order 41:24        58:2           point 13:15     privileged
  11:24 12:3    okay 4:7,22     original         party 26:22        55:11          26:10
  14:2,14         4:23 6:14       13:14          pay 54:14        population      problem
  15:20 17:5      7:5,10,20     outside 30:16      55:19            40:19 48:5     24:20
  18:1,6,14       8:5,7 12:18   overall 33:8     payment            48:17         Procedure
  28:11,15        13:4,15,18      33:10            35:10          portion 20:17    1:13 4:13
  29:13 38:15     14:2,14,24    overseas         pending 4:18       20:19 48:17    57:21
  40:17 43:7      15:20 17:5      10:16          people 52:11     possession      proceeding
  43:18 45:7      17:20,23      overzealous      period 53:17       48:3           24:8 25:17
  45:21 46:12     18:17,20        19:10          person 42:7      possibly 22:8    55:9
  46:17,18,21     19:17,21      owe 21:15,17     personal         post 11:12      proceedings
  47:2,11,22      20:11,23        51:22            30:18 41:7     potential        7:8 17:21
  47:23 48:2      23:14 24:23   owed 21:9          42:16 43:1       52:23          23:12 34:18
  49:6,23         25:6,10,23      42:3,13        pertaining       practice         34:21,24
 numbered         26:5,11         51:15            1:14             19:11         process 23:13
  13:5 47:2       29:12,16                       petition         Practices        25:1 41:21
 numbers          30:15 31:7          P            47:15 50:10      18:22 19:4     44:3,5 52:8
  46:22,23        31:14,22,24   page 3:5,10      petitions 17:8     19:14          54:12 55:13
                  32:10,17       12:12 14:24       50:2,10        preceding       processes
        O         33:10,13,23    19:18 20:19     phone 7:20         59:9           44:4
 Object 54:6      34:3 37:22     22:24 23:21       13:8 14:16     preparation     produce
 Objections       38:3 39:8      25:8 26:14        14:20 32:4       9:4            15:24 49:13
   28:17 45:8     39:11,14       28:20 29:13       40:7 46:6      prepare 9:1     produced
   45:12          41:11 42:14    38:16 40:17     physical 33:6    present 1:18     47:7
 obtained         43:6,11,14     41:13,20          33:11            16:2 49:14    production
   24:8 25:18     45:17,23       42:8,9 43:6     physician          57:7           45:13 47:8
   51:15          46:4,9,15      43:18 45:21       16:14,16,18    presently       professional
 obtaining        46:21 47:10    49:6,23         place 19:11        37:3 39:6      11:18
   36:4           47:21 49:2     51:10             57:6,17        pressure        progress 53:3
 obviously        49:6,23       pages 12:9       Plainfield         33:14         proper 40:12
   12:19 17:6     50:1,24        47:11 59:8        5:10 17:4      presume 20:1    proposition
   36:3           51:23 54:18    59:9            plaintiff 1:5      30:8           48:4
 occur 25:11      54:21         paid 15:14         2:5 6:8 15:5   pretty 6:17     protect 19:11
 October        once 6:15        41:17 54:11       15:20 19:22      21:20         protection
   12:18          21:20         paragraph          28:4,7         previous         19:8
 offended       ones 13:7,8      19:21 20:8        29:16,23         24:13         provided
   50:16          13:11 54:22    20:11,19          38:19 40:18    previously       44:19,24
 office 14:10   opinion 41:7     43:17             40:24 45:24      13:3 24:8     providing
   14:17 23:9     42:20 43:2    part 12:11         49:9             25:18 57:8     19:23


                                  TOOMEY REPORTING
                                    312-853-0648
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 89 of 92 PageID #:299

                                 SHANE W. WORTMAN
                                 November 22, 2019
                                                                                       Page 7

 public 1:12    Rathbone        recognize          47:18 55:9      22:11             30:20,24
  19:12 57:5      10:2            47:17            55:22         resolved 33:2       31:17 32:2
  57:13 58:4    reach 23:10     recollection     relating 14:3     33:24             32:10,17,24
  58:8          read 15:6         22:5             15:1,18       response 30:6       33:4 35:3
 pulled 7:22      16:2 22:17    record 4:7,10      16:12           30:21 38:15       36:24 37:3
 purchased        22:22,23        4:17 5:7 7:4   relevant          38:19 40:24       37:21 38:12
  37:18 38:4      23:17,19        26:15 57:15      13:19           46:1,18           39:23,24
  38:6            25:2,7,14     recordings       remaining         47:7 52:14        40:24 41:3
 purpose          26:13,14        14:15,20         50:9          Responses           42:23 43:1
  51:16           29:20 30:2    records 16:1     removed           28:16 45:8        43:4 45:1
 purposes         33:1 38:18      49:14            55:14,15        45:11             45:14 46:2
  4:21            40:21 42:7    recover 21:21    rent 37:8,9     responsibili...     46:7,10,22
 pursuant         42:10 45:9    recovery         renting 38:10     52:22             47:2,5,12
  1:12 4:8        45:14 49:15     15:21 16:5       38:12         responsible         48:13,15
  57:20           51:11 52:1      16:7 49:10     repeat 5:2        55:19             49:15 50:2
 pursue 41:18     59:6            49:20 53:2     rephrase 5:3    responsive          50:12,14
 pursued        reading 17:5    reduced          reporter 7:3      15:9            rights 31:15
  53:11           19:15 42:11     36:22            10:11 24:4    rest 52:1 53:1    ROBERT 2:6
 put 17:23        42:16         Reduction          44:22         restroom          Ross 5:10
  19:11 33:9    realize 6:14      36:13          REPORTI...        10:9,13           39:5
                really 30:9     reference          59:1          result 15:23      Route 17:3
       Q          52:17           18:21          represent         27:3 29:18      rules 1:12
 question 5:3   reason 6:19     referenced         44:2            33:14,18          4:12,12,13
  6:22 23:15      35:5 41:8       50:4           represented       34:18 35:15       6:17 37:17
  29:12,16,20     44:15,18      references         27:8 28:1,7     37:23 49:12       57:20,20
  30:1,23       reasons 40:7      46:18          representing    review 7:10
  38:14 40:17   receive 17:16   referred           43:20         reviewed               S
  45:20 50:16     21:20 22:3      57:17          request 6:21      7:12,16 9:3     S 2:1
  50:18 52:16     23:3 52:13    referring          15:9 45:20      13:3            safe 54:2
  53:22 54:7      54:1            20:4             46:18 47:8    rhaney@n...       sails 54:9
 questions      received        reflect 4:7        47:22 48:2      2:9             sale 27:18,20
  4:18 5:1,2      13:23 14:10   regarding          48:7 49:9     Richard 5:18      sales 10:5
  6:23 7:2,7      21:1,7 22:7     38:20 52:3     requested       rider 12:12         11:3,4
  45:19 50:15     22:16 23:16   regardless         12:1 18:3       13:2 14:2       saw 16:24
  50:24 54:21     25:6 32:22      55:7             28:13 45:4    right 4:24 5:6      24:2
  57:11,15        34:3 39:14    regular 22:14      46:13           12:22 13:9      saying 23:20
 quick 54:22      40:6 53:6       22:15          Requests          14:7,20         says 15:2
 quite 53:17      54:5,20       rekindled          45:13           15:8 19:1,2       19:21 20:5
                  55:8,11         53:19          require 30:17     20:21 22:13       25:16,21,22
      R                                                                              30:21,24
                receiving       relate 15:2      research          22:16,22
 R-A-T-H-...      31:16 32:20   related 6:7        19:16           23:14 24:24       38:19 42:2
  10:2            33:22,24        21:19 30:12    reside 5:15       25:4,8 26:7       42:3,8
 Randolph         41:9 54:8       35:12 41:17      39:6            28:3,20           45:23 51:24
  59:1            55:14           41:19,21       residing          29:9 30:5       school 11:6,7


                                  TOOMEY REPORTING
                                    312-853-0648
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 90 of 92 PageID #:300

                                   SHANE W. WORTMAN
                                   November 22, 2019
                                                                                     Page 8

   11:8,13        shock 23:2      sold 27:4,17    states 1:1,13      57:9 59:19    52:15 55:24
 score 36:13      short 27:18     solid 37:19       15:20 38:19    symptoms        56:2
   36:14,22       shorthand       son 5:17 9:15     57:21            33:6,11     thing 6:20
 seal 58:3          57:12           34:15         stating 21:9                     32:13,16
 second 12:12     show 4:10       sorry 5:14      status 27:1             T        38:18
   25:8 30:20       53:3            10:11 44:17   statutory        T 1:7 14:5    things 14:15
   35:7 41:20     shower 10:9       44:22 45:9      15:3             28:17 38:23   19:10 32:13
   42:9 45:14       10:13         sort 6:24       stenographer       39:15,19      34:5
 section 20:12    showing 12:2      46:15           57:13            45:8,12     think 9:15
 see 13:5           18:4 28:14    sounds 25:2     step 7:4           46:7          11:1 13:19
   16:22 17:3       45:5          source 43:3     stigma 35:22     table 13:9,11   18:9 20:23
   17:9 18:7      shrug 52:10       52:4 53:20    Street 2:7         50:17         24:18 32:5
   19:23 43:8     side 36:2         53:20           17:3 27:6      take 6:19,21    32:15 35:20
   43:20 45:22      46:15,15      South 1:15        59:1             29:6 51:4     35:21,23
   46:19,24       sign 36:1         2:2           stress 30:13     taken 1:10      38:22 42:6
   47:1 48:9      signature       speak 30:17       53:16 55:9       3:3 4:8,11    46:4 49:3
 seeing 16:20       22:24 23:24     39:8,11         55:22            11:15 51:24   50:12,14
 seeking 15:21      28:21,22,24   SPEARE          strife 33:9,10     57:4,11       51:23 52:4
   16:4,7 43:8      57:18 58:3      1:11 57:5     Strike 8:24        59:11         52:5,11,12
   43:14 49:9     signed 29:2       58:7            18:20 43:17    talking 30:8    52:20 53:4
   49:20            59:16         specifically    Subject 59:8       30:9 44:7     55:11
 seeks 15:5       significant       28:8          submitted        talks 14:24   thinking
 seen 12:15         40:19 48:5    spend 8:21        57:19          tape 14:15      24:12
   33:4 45:17       48:17           18:17         SUBSCRI...       task 52:24    third 38:8
 send 24:11       SIMILAR...      spoke 8:15        59:19          team 16:24      52:2
 sender 40:10       1:4             26:2          subsided 54:4    tear 53:3     thorough
 sent 19:22       sir 42:22       spoken 16:10    success 55:15    teenagers       42:10
   22:13 46:5     sits 50:17      ss 57:1         successful         53:15       thought
 separate         SITUATED        stamped           52:24 55:13    telegraphed     37:15,24
   32:13            1:4             46:23         suffer 32:18       7:1           53:6,7
 separated        situation       start 7:2       suffered         tell 5:6 11:1   54:19 55:15
   54:11 55:16      52:13           45:10           15:23 29:24      19:18 29:14 three 16:21
 September        six 10:24       started 8:13      33:14 49:12      54:13         38:7,11
   17:19 54:1       38:15           29:6          suffering        telling 31:8    51:1
   58:5           slash 29:24     starting 7:11     35:14          ten 17:9,12   Thursday
 Services 9:21      30:6,22         12:12 18:12   Suite 1:15 2:2     42:4          22:8
 set 23:2 28:18     32:12,14,19   STATE 57:1        2:7 59:2       tends 48:4    time 4:24 6:3
   41:12 45:13    sleep 33:18     stated 21:24    support 48:4     terms 20:9      8:21 13:15
   59:9             33:21           26:19 52:6      48:16            43:19 44:1    22:11 26:2
 seven 10:7       sleeplessness     53:12         supports 48:4    testified 4:4   34:3,11
 Shane 1:3,10       33:23         statement       sure 7:21          6:12          45:15 53:17
   3:2 4:1,8      social 5:22       21:14           20:18 23:6     testimony       56:1 57:6
   5:8,17 9:16      35:22         statements        23:15 48:1       49:3          57:17
   59:17          society 35:23     21:19         sworn 4:3        Thank 9:14    times 6:2


                                    TOOMEY REPORTING
                                      312-853-0648
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 91 of 92 PageID #:301

                                   SHANE W. WORTMAN
                                   November 22, 2019
                                                                                      Page 9

   42:5           ultimately      we're 20:18      1:10 3:2 4:1   11th 17:19      205 59:1
 title 11:1         23:18 26:13    24:15 30:8      4:8,15 5:8       54:1          20th 22:9
 today 4:17       unable 33:18     30:9 32:21      12:2 18:2,4    12 3:11         21st 22:9
   6:17 7:11        35:9           38:10 40:17     28:12,14       13 15:20         58:5
   8:13 9:6       undersigned      44:7 54:19      38:23 45:5       40:17 49:6    22 3:3
   12:20 13:7       57:12,24       56:3            46:16,19       143rd 17:3      2201 59:2
   13:9 18:12     understand      we've 37:16      48:9,12        15th 19:21      22nd 1:16
   29:7 32:21       5:1,4 7:6      37:16,17        55:3 59:17       20:5           29:2
   35:13,15,18      18:18 20:2    weakness        wouldn't        18 3:12 17:5    24633 27:5
   44:8             26:15,19       36:1            37:15            43:7 49:23    2500 1:14 2:2
 today's 4:9        49:2,3        wedding         written 43:22   1800 2:7        25804 5:10
 told 9:15          55:20          10:14           44:12          18th 4:20       26th 26:6
   20:23 23:17    understand...   Wednesday       wrong 31:14       20:6,7 22:1    32:6
   28:3 30:7        19:5 21:22     22:8            45:9             22:6          28 3:13
   39:9 46:4        44:6 47:5     week 9:5 22:8                   19 27:16
   55:3           Understood       34:2                X            43:18            3
 TOOMEY             26:11,12      went 4:16                       19-year 9:123 3:13 14:24
                                                        Y                       28:11,15
   59:1           United 1:1,13    54:16 55:4                     1993 11:11
 top 41:23          57:21         weren't 24:12   Yeah 6:24       1st 16:1      40:17 45:21
 trailers 10:10   unsure 44:11    West 2:7 59:1     34:2 37:6       49:14       47:17 50:9
   10:14          use 10:14,15    wife 5:17 9:9   year 5:12,12                30 8:23
 transcript                        22:20,21         10:7 17:1          2      30(e) 57:20
   59:7,10               V         39:3 41:5        27:16       2 3:12 18:1,6 309,456
 treating         violated         53:10          years 6:5,15    18:14 22:24   21:11
   16:14,16         31:16         wife's 42:18      10:24 16:21   26:14 29:13 30th 12:18
 trek 12:24       vs- 1:6         William 5:8       17:9,12       38:16 47:11 312 2:8
 trial 6:12                       Williams          37:19,22      48:9,12     32(d) 57:20
                        W                                         50:6 51:5
 tried 23:19                       16:17                Z
                  W 1:3,10 3:2                                  20 6:5,15            4
 true 12:9                        witness 4:2
   20:12,13        4:1 59:17       10:13,19                       8:23        4 3:6,14 43:7
                                                        0
   46:5 57:14     Wait 51:8        12:5 18:8                    200 1:15 2:2    45:3,7
   59:10          waived 57:19     24:6 28:19           1       2015 16:1       46:15,17
 truth 50:22      want 6:16        45:2 51:13     1 3:11 11:24    49:14         47:22 49:23
 try 7:4 21:21     13:4 19:17      54:8 57:4,9      12:4 46:19 2017 17:19     40 19:21 20:8
   25:3 37:20      24:24 32:10     57:16,18         47:3,11       54:1        41 20:11,19
   52:10           43:6 48:1       58:3 59:4        48:9,12     2018 4:21     410 10:2
 trying 23:10      50:15          word 30:5         50:4,6 59:8   19:22 22:1 431-1455 2:8
 turned 44:16     wanted 23:16    work 9:20,21    1:18-cv-04...   22:17 32:6 45 3:14
 two 14:2         wasn't 54:4      10:17,22         1:6           34:4 39:15 46 3:15
   23:23 32:12    water 35:9       37:15 53:7     105 2:7         54:2
                  way 33:9                                                           5
   37:19,22                        53:8           11 47:23 48:2 2019 1:17 3:3
 typo 20:1,7       36:11 41:12    worked 10:6     11-22-19        12:19 29:3 5 3:15 43:18
                   52:5                                         2020 58:5       46:12,15,22
                                   27:12            59:11                       47:2,6,11
       U          we'll 6:19      Wortman 1:3     116 2:3         59:20
                                                                                48:13

                                    TOOMEY REPORTING
                                      312-853-0648
Case: 1:18-cv-04522 Document #: 51 Filed: 11/16/20 Page 92 of 92 PageID #:302

                              SHANE W. WORTMAN
                              November 22, 2019
                                                                        Page 10

 51 3:7
 5233 5:23
 55 3:6
 575-8181 2:3
 59 17:3 46:19
  47:3,17
  50:4,9 59:8
       6
 60148 2:3
 60506 10:3
 60603 2:8
 60606 59:2
 630 2:3
 653 36:21
 68 21:12
       7
 728 36:18
       8
 8 19:18 45:21
 8-11-75 5:20
       9
 9:53 1:16




                              TOOMEY REPORTING
                                312-853-0648
